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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION

SONOS, INC.,                                     §
                                                 §
                       Plaintiff,                §           C.A. 6:20-CV-00881-ADA
v.                                               §
                                                 §          JURY TRIAL DEMANDED
GOOGLE LLC,                                      §
                                                 §
                       Defendant.                §

            SECOND AMENDED COMPLAINT FOR PATENT INFRINGEMENT

       Plaintiff Sonos, Inc. (“Sonos” or “Plaintiff”) hereby asserts claims for infringement of

United States Patent Nos. 9,967,615; 10,779,033; 9,344,206; 10,469,966; and 10,848,885 (the

“patents-in-suit”; attached hereto as Exhibits 1-4 and 45 respectively) against Defendant Google

LLC (“Google” or “Defendant”), and alleges as follows:

                                       INTRODUCTION
       1.      Sonos is an American success story. It was founded in 2002 in Santa Barbara,

California by a handful of engineers and entrepreneurs with a vision to invent the world’s first

wireless, whole-home audio system. At the time, popular audio systems were dependent on a

centralized receiver hard-wired to each individual passive speaker throughout a home. Further,

most homes with Internet access had dial-up connections, the iPhone was still five years away,

and there were no streaming music services. The technological barriers confronting Sonos were

enormous.

       2.      To deliver on its vision, the Sonos team completely reimagined the in-home music

system as a decentralized network of smart playback devices, and it developed a platform that

could seamlessly and wirelessly distribute audio room by room or throughout the home at the

user’s discretion. Sonos created a “choose what to play, where to play it, and how loud” wireless

audio system that could not only perform without lag (e.g. buffering, or network interruptions),

but that was also so simple and intuitive that customers would make it part of their daily lives.
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       3.      Commercial success did not come easy for Sonos as its vision was in many ways

ahead of its time. But year by year, consumers – and the entire industry – came to appreciate that

wireless multi-room audio devices and systems could not only work, but could become an essential

part of the listening experience. Success required staying true to Sonos’s disruptive vision,

continuing to innovate while adjacent industries caught up and customers became more and more

enamored with the idea of Sonos as they had the chance to encounter and use its products. Once

Sonos had taken all the risks and placed enormous bets on research and development, the “first

followers” began to copy Sonos’s innovations.
       4.      To this day, Sonos remains focused on innovations that further enhance the

listening experience. Sonos invests heavily in research and development and, as a result,

frequently invents new systems with new technologies, enhanced functionality, improved sound

quality, and an enriched user experience.

       5.      As a result, Sonos has become one of the world’s leading providers of innovative

audio products. In recognition of its wide-ranging innovations, the U.S. Patent & Trademark

Office has granted or allowed Sonos more than 940 U.S. patents, including the patents-in-suit, with

hundreds more patents in other countries. The innovations captured by these patents cover many

important aspects of wireless multi-room audio devices/systems, including, for example, how to

manage and control groups of playback devices, how to facilitate seamless control and transfer of
audio playback among devices, and how to output amazing sound quality.

       6.      The industry has recognized the importance of Sonos’s patents. For example,

Sonos earned a spot on the IPO list of “Top 300 Organizations Granted U.S. Patents” and the

IEEE recognized Sonos as having one of “[t]he technology world’s most valuable patent

portfolios.” See Exs. 6 and 7.

       7.      Sonos launched its first commercial products in 2005 and has since released a wide

variety of critically acclaimed, patented, wireless multi-room audio products, including, for

example, the Play:1, Play:3, Play:5 (Gen 1 and Gen 2), One (Gen 1 and Gen 2), One SL, Move,




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Playbar, Playbase, Beam, Sub, Connect, Port, Connect:Amp, Amp, Five, and Arc. See, e.g.,

Ex. 8. Sonos’s products can be set up and controlled by the Sonos app. Id.

       8.      Sonos’s efforts have made it incredibly popular with its customers. Sonos estimates

that in fiscal year 2019, Sonos’s customers listened to 7.7 billion hours of audio content using its

products. And, as of September, 2019, almost two thirds of Sonos households had purchased and

installed more than one Sonos product.

       9.      Sonos’s record of innovation has made it the undisputed leader in what has come

to be called the “multiroom audio” field. See, e.g., Ex. 9 (2018 Digital Trends: “Sonos is the king

of multiroom audio….”); Ex. 10 (2019 What Hi-Fi: “[N]o multi-room offering is as complete or

as pleasurable to live with as Sonos.”).

       10.     Sonos has already sued Google for infringing patents on its first group of inventions

involving the set-up, control, playback, and synchronization of wireless playback devices. This

case involves a second group of inventions which, as described more extensively below, tackle the

novel technological challenges of how to stream music from a cloud-based service, how to create,

manage, and invoke “zone scenes” to configure how multiple playback devices work together,

and how to dynamically adjust the equalization of a playback device based on the environment in

which the playback device is operating.

                              GOOGLE BEGINS INFRINGING

       11.     Almost a decade after Sonos created the smart-speaker market, Google entered the

space. Initially, Google sought to work with Sonos and, through those efforts, gained access to

Sonos’s engineers, products, and technology. All too quickly, however, Google shifted focus and

began to develop and sell products that copied Sonos’s technology and infringed Sonos’s patents.

       12.     Part of what makes Sonos so successful is that, through its application, Sonos is

compatible with many different third-party music streaming services. When Google publicly

launched its own streaming music service – Google Play Music – in late 2011, Sonos worked with




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Google to integrate the Google Play Music service into the Sonos ecosystem. As a result, Google

Play Music launched on the Sonos platform in 2014. See, e.g., Ex. 11.

       13.    This should have benefited everyone: Sonos’s customers gained access to another

streaming service and Google Play Music users gained access to Sonos’s devices. But as the press

recognized at the time, Sonos’s integration work with Google was especially “deep” and therefore

gave Google a wide aperture through which to view Sonos’s proprietary technology. Id. (2014

Wired: “This is the first time this sort of deep integration has happened between a third party

music service and Sonos.”). The copying soon followed.
       14.    Just eighteen months later, in 2015, Google began willfully infringing Sonos’s

patents. On information and belief, Google used the knowledge it had gleaned from Sonos to

build and launch its first wireless multi-room audio product – Chromecast Audio.

       15.    Google’s Chromecast Audio began what has turned into Google’s relentless effort

to copy Sonos and use Sonos’s patented technology. For example, although Google’s original

Chromecast Audio did not yet include Sonos’s patented multi-room audio functionality, even

when it was launched Google was working to add that Sonos-patented feature. See Ex. 12 (2015

The Guardian: “Google is also working on multi-room audio streaming using the Chromecast

Audio, but it will not support the popular feature out of the box.”). And, when Google added the

infringing feature, the press immediately noted how this “major feature update” made Google’s

product even more “like the ones made by Sonos:”

       Google’s recently-launched Chromecast Audio adapter is getting a major feature
       update this week: Consumers will now be able to group multiple Chromecast audio
       adapters to stream their favorite music simultaneously in more than one room,
       similar to the multi-room support available for internet-connected loudspeakers like
       the ones made by Sonos.
Ex. 13 (2015 Variety article entitled “Google’s Chromecast Audio Adapter Gets Multi-Room

Support Similar to Sonos”); see also Ex. 14 (2015 Pocket-Lint) (“You control your Sonos

experience with one app. Well, thanks to a new software rollout, Chromecast Audio can pretty

much do the same thing.”).




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         16.   This has become a consistent pattern. Time and again, Google has added features

to its products that first appeared in Sonos’s products and which make use of Sonos’s patented

technology.

                     GOOGLE’S INFRINGEMENT ACCELERATES

         17.   Since 2015, Google’s misappropriation of Sonos’s patented technology has

proliferated. Google has expanded its wireless multi-room audio system to more than a dozen

infringing products, including the Google Home Mini, Google Home, Google Home Max, and

Pixel phones, tablets, and laptops. And Google has persisted in infringing even though Sonos has
warned Google of its infringement on at least four separate occasions dating back to 2016.

         18.   For example, in 2016 (a year after Google launched the Chromecast Audio

wireless adapter), Google released the Google Home multi-room audio player (which was

controlled by Google’s rebranded multi-room controller app – the Google Home app). Unlike the

Chromecast Audio, the Google Home added an internal speaker driver making it an “all-in-one”

audio player akin to Sonos’s prior Play:1, Play:3, and Play:5 products.

         19.   Sonos raised the issue of infringement as to these products with Google as early as

August 2016. Sonos hoped that Google would respect Sonos’s intellectual property and the

extensive work Sonos had put into inventing and developing its products. But Google did no such

thing.

         20.   In October 2016, Sonos put Google on notice of infringement of 28 Sonos patents,

including asserted United States Patent No. 9,344,206. Google, however, did not stop infringing.

Instead, it doubled down and introduced new infringing products, making use of even more

patented technology from Sonos.

         21.   For example, in 2017, eight years after Sonos introduced its first all-in-one audio

player – the Play:5 – Google released its first all-in-one audio players – the Google Home Max

and the Google Home Mini. Google’s Home Max in particular was seen as a “Sonos Clone” and

a “not-so-subtle copy of the [Sonos] Play:5 speaker….” Ex. 15. As explained by Gizmodo, “[i]t’s




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also hard not to see the [Google Home Max] device as something of a jab at Sonos.” Id.; see also,

e.g., Ex. 16 (2017 Android Central: “You can’t help but look at Google Home Max… and come

to the conclusion that Google is sticking its nose where Sonos has been for years.”).

       22.      Then again, in February 2019, Sonos put Google on notice of infringement of 100

Sonos patents, including asserted United States Patent No. 9,967,615.

       23.     Nothing Sonos did, however, deterred Google from expanding its infringement.

Google’s infringing product line now includes at least the Chromecast, Chromecast Ultra,

Chromecast Audio, Chromecast with Google TV, Home Mini, Nest Mini, Home, Home Max,
Home Hub, Nest Hub, Nest Hub Max, Nest Audio, and Nest Wifi Point (individually or

collectively, “Google Audio Player(s)”), all of which can be controlled by, for example, the

YouTube Music app, the Google Play Music app, the YouTube app, and the Google Home app

(individually or collectively, “Google App(s)”). See, e.g., Exs. 17-27.

       24.     In addition to providing the Google Apps for controlling the Google Audio

Players, Google also offers various infringing hardware controllers that are pre-installed with the

Google Play Music app, YouTube app, and/or YouTube Music app (and capable of downloading

and executing the Google Apps that are not pre-installed). These infringing hardware controllers

include, for example, Google’s “Pixel” phones, tablets, and laptops (e.g., the Pixel 3, Pixel 3 XL,

Pixel 3a, Pixel 3a XL, Pixel 4, Pixel 4 XL, and Pixel 4a phones, the Pixel Slate tablet, and the

Pixelbook and Pixelbook Go laptops) (individually or collectively, “Google Pixel Device(s)”).

See, e.g., Exs. 28-32.

       25.     Herein, “Google Wireless Audio System” refers to one or more Google Audio

Players, one or more Google Pixel Devices, and/or one or more Google Apps.

       26.     In order to hold Google accountable for its willful infringement of Sonos’s

patents, Sonos filed a complaint in January 2020 asking the United States International Trade

Commission (“ITC”) to institute an investigation into Google’s unlawful importation into and sale

in the United States of infringing products. The ITC instituted an investigation, In re Certain Audio

Players and Controllers, Components Thereof, and Products Containing Same, Inv. No. 337-TA-


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1191 to determine whether Google’s audio players and controllers infringe five Sonos patents

directed to fundamental features such as playing music on multiple speakers in synchrony, playing

music in stereo over two or more players, a controller that can easily setup a player on a wireless

network, and playback-control features such as controlling both the volume of individual speakers

and a group of speakers.

       27.     While the ITC Investigation has been pending, Google has continued to increase

its infringement. For example, press reports indicate that Google is introducing new products and

changes that mean Google is “one step closer to replacing your Sonos system.” Ex. 33; see also
Ex. 44 (“The new functionality appears to be the most direct challenge to the likes of Sonos, which

has enjoyed enormous success by creating a series of connected speakers and soundbars that can

play music simultaneously – or individually.”). The press has similarly noted that Google’s new

speaker “could be a new rival for the likes of the Sonos One, the best smart speaker you can buy

in 2020.” Ex. 34; see also Ex. 44 (“Just like Sonos, you can also change the volume on each

speaker individually from the main interface.”). And press reports indicate that Google has

expanded its use of Sonos’s stereo pair technology into the new smart-speakers even though

Google is currently being sued for infringing a Sonos patent on this technology. Exs. 35, 44.

       28.     Google itself has also highlighted the importance of its use of Sonos’s technology.

For example, Google’ Chris Chan publicly stated that “[c]ontrolling the audio throughout my

home, no matter who’s listening, has been incredibly helpful” and that “[t]oday, we’re expanding

that control. You can already manually group Nest devices in order to play the same music on

various speakers at the same time, and now we’re launching multi-room control so you can

dynamically group multiple cast-enabled Nest devices (speakers, Smart Displays, Chromecasts)

in real-time to fill multiple rooms with music.”     Ex. 35; see also Ex. 44. Again, Google has

expanded its use of this technology while it is being sued for infringing Sonos’s patents on this

precise technology.

       29.     Google’s aggressive and deliberate expansion of its use of Sonos’s patented

technology has led observers to conclude that “[n]o market is safe from [the] search engine


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monster” and that Google was specifically “offering new products to compete with Sonos in the

music streaming market.” See Ex. 36.

              GOOGLE’S CONTINUED INFRINGEMENT FORCES THIS SUIT

        30.     In the face of Google’s unrelenting infringement, Sonos has no choice but to bring

this suit. In this action, Sonos asserts patents that are not at issue in the ITC or the related district

court action. Sonos is also accusing Google’s Wireless Audio System of infringing different

patented features than are at issue in either of those actions.

        31.     Sonos’s ITC suit addressed Google’s infringement of Sonos patents covering
fundamental aspects of wireless, whole-home audio systems. While groundbreaking, those

patents represent only some of Sonos’s ongoing innovation from its inception to today. Through

its foresight, substantial investment, and relentless pursuit of excellence, Sonos built on its

previous success and invented a number of key features consumer have grown to expect and

demand in streaming music listening.

        32.     For example, as explained more fully below, Sonos’s U.S. Patent Nos. 9,967,615

and 10,779,033 (the “’615 Patent” and the “’033 Patent,” respectively) cover key aspects of

Sonos’s inventive approach for streaming music from a cloud-based service to a media playback

system, including technology for transferring playback responsibility for a cloud-based stream of

media content from a user’s device, such as a smart phone, to a media playback system that is

then configured to retrieve and play back the cloud-based media content.

        33.     Sonos was well ahead of the field when it began to develop these inventions in

2011. At that time, Sonos’s audio system, including its smart-phone app controller, was in a

category all its own. Moreover, streaming content from cloud-based media services for playback

by computers – let alone other types of networked devices like smart phones and smart speakers

– was in its infancy. Nonetheless, at a time years before Google released its first Chromecast

product, Sonos envisioned a novel experience of continuous and intuitive control of a user’s entire

streaming listening experience, across multiple networked devices, including smart phones and/or




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smart speakers. That vision gave rise to the innovation of technology for enabling seamless

transition of playback responsibility for cloud-based media content between different networked

devices, such as a smart phone and a smart speaker. This paradigm is now fundamental across

the entire streaming industry as user expectations of continuous listening experiences have

continued to converge with Sonos’s vision.

       34.     Similarly, Sonos’s U.S. Patent Nos. 9,344,206, 10,469,966, and 10,848,885 (the

“’206 Patent,” the “’966 Patent,” and “the ’885 Patent,” respectively) cover some of Sonos’s

inventions related to creating, managing, and invoking “zone scenes” to configure how multiple
players work together. With these patents, Sonos once again anticipated what consumers would

want and invented a new feature for its system. Using the inventions of the ’206,’966, and ’885

Patents, playback devices can be grouped together for synchronous playback in an easy and

intuitive manner using “zone scenes.” Advantageously, such a “zone scene” can be accessed and

invoked by multiple devices and in various ways (e.g., by voice) even when the particular

controller that created the “zone scene” is not on the network.

       35.     Sonos provided a pre-filing copy of both the original complaint and this Amended

Complaint to Google, thereby providing clear pre-suit notice of infringement of the patents-in-

suit. Google, however, has never given any indication that it is willing to stop infringing, and did

not do so in response to receiving a draft of either the original complaint or this Amended

Complaint.

       36.     On information and belief, Google is unwilling to stop infringing because its

infringement of Sonos’s patented inventions has paved the way for Google to generate billions of

dollars in revenue. A December 2018 market report by Royal Bank of Canada (“RBC”), for

example, concluded that Google sold over 40 million Google Home devices in the U.S. and that

Google generated $3.4 billion in Google Home revenue in 2018 alone. Ex. 37 at pp. 1, 4, 14-15.

RBC also found that, as of August 2017, Google had sold more than 55 million Chromecast

devices and that Google generated almost $1 billion in Chromecast revenue in 2018. Id. at pp. 4,




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16, 18. Further, RBC estimated that, in 2018, Google generated $3.4 billion in Pixel device

revenue. Id. at pp. 4, 8.

       37.     By 2021, RBC estimates that Google will be annually selling over 100 million

Google Home devices in the U.S. and generating over $8 billion in Google Home revenue. Id. at

pp. 4, 14-15. In addition, by 2021, RBC estimates that Google will annually generate $2.4 billion

in Chromecast revenue and nearly $7 billion in Pixel device revenue. Id. at pp. 4, 8, 18.

       38.     The revenue obtained from the sale of Google’s hardware devices vastly

understates the value to Google of infringing Sonos’s patents. On information and belief, Google
is intentionally selling the infringing products at a discount and/or as a “loss leader” with the

expectation that this will allow Google to generate even more revenue in the future – e.g., by

powering Google’s continued dominance of the market for search advertising. In particular,

Google’s infringement of Sonos’s patented inventions has helped and/or will help Google

generate significant revenue from the use of Google’s hardware devices including advertising,

data collection, and search via the Google Wireless Audio Systems. As the New York Post

explained, “Amazon and Google both discounted their home speakers so deeply over the holidays

that they likely lost a few dollars per unit … hoping to lock in customers and profit from later

sales of goods and data about buying habits.” Ex. 38. Similarly, News Without Borders explained

that companies like Google are using their “smart speaker” devices as “‘loss leader[s]’ to support

advertising or e-commerce.” Ex. 39.

       39.     On information and belief, Google’s copying of Sonos’s patented inventions has

also helped and/or will help Google generate significant revenue from driving its users to make

purchases such as streaming music subscriptions and retail purchases via the Google Wireless

Audio Systems. For example, an NPR “smart speaker” survey found that 28% of survey

respondents agreed that “[g]etting [a] Smart Speaker led [them] to pay for a music service

subscription,” and Google offers two such subscriptions – Google Play Music and YouTube

Music. Ex. 40 at p. 20. Likewise, the NPR survey also found that 26% of respondents use their

smart speakers “regularly” to “add [items] to shopping list.” Id. at p. 14; see also, e.g., Ex. 39


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(stating that companies like Google are using their “smart speaker” devices as “‘loss leader[s]’ to

support… e-commerce.”).

       40.     On information and belief, Google is willfully infringing Sonos’s patents as part

of Google’s calculated strategy to vacuum up invaluable consumer data from users and, thus,

further entrench the Google platform among its users and fuel its dominant advertising and search

platforms.

       41.     Google’s infringement – and its strategy to sell its infringing products at a loss to

develop alternative revenue streams – has caused significant damage to Sonos. For example, the
Google Home Mini predatorily implemented Sonos’s valuable patented technology into an all-in-

one wireless multi-room product that Google sells at a highly subsidized price point or even gives

away for free. Ex. 41 (“At $49, Google Home Mini works on its own or you can have a few

around the house, giving you the power of Google anywhere in your home.”); Ex. 39 (“Google

partnered with Spotify to offer Home Minis as a free promotion for Spotify Premium customers.

Spotify’s premium userbase is nearly 90 million, so if even a fraction of users take the free offer,

a massive influx of Google smart speakers will enter the market.”).

                                          THE PARTIES

       42.     Plaintiff Sonos, Inc. is a Delaware corporation with its principal place of business

at 614 Chapala Street, Santa Barbara, California 93101. Sonos is the owner of the patents-in-suit.

Sonos holds all substantial rights, title and interest in and to the Asserted Patents.

       43.     Defendant Google LLC is a Delaware limited liability corporation with its principal

place of business at 1600 Amphitheatre Parkway, Mountain View, CA 94043. Google maintains

a physical address in this district at 500 West 2nd Street, Austin, Texas, 78701. Google may be

served with process through its registered agent, the Corporation Service Company, at 211 East

7th Street, Suite 620, Austin Texas 78701. Google is registered to do business in the State of Texas

and has been since at least November 17, 2006.




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        44.      Google LLC is one of the largest technology companies in the world and conducts

product development, engineering, sales, and online retail, search, and advertising operations in

this District.

        45.      Google LLC directly and/or indirectly develops, designs, manufactures, distributes,

markets, offers to sell, sells, and/or imports the infringing Google Wireless Audio System at issue

in this litigation in/into the United States, including in the Western District of Texas, and otherwise

purposefully directs infringing activities to this District in connection with its Google Wireless

Audio System.
                                  JURISDICTION AND VENUE

        46.      This action for patent infringement arises under the Patent Laws of the United

States, 35 U.S.C. § 1 et. seq. This Court has original jurisdiction under 28 U.S.C. §§ 1331 and

1338.

        47.      This Court has personal jurisdiction over Google because, pursuant to Fed. R. Civ.

P. 11(b)(3), Google has: (1) availed itself of the rights and benefits of the laws of the State of

Texas, (2) transacted, conducted, and/or solicited business and engaged in a persistent course of

conduct in the State of Texas (and in this District), (3) derived substantial revenue from the sales

and/or use of products, such as the infringing Google Wireless Audio System, in the State of Texas

(and in this District), (4) purposefully directed activities (directly and/or through intermediaries),

such as shipping, distributing, offering for sale, selling, and/or advertising its infringing Google

Wireless Audio System, at residents of the State of Texas (and residents in this District), (5)

delivered its infringing Google Wireless Audio System into the stream of commerce with the

expectation that the Google Wireless Audio System will be used and/or purchased by consumers,

and (6) committed acts of patent infringement in the State of Texas (and in this District).

        48.      This Court also has personal jurisdiction over Google because it is registered to do

business in the State of Texas and has one or more regular and established places of business in

the Western District of Texas.




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       49.     Venue is proper in this District under the provisions of 28 U.S.C. § 1400(b)

because, as noted above, Google has committed acts of infringement in this district and has one or

more regular and established places of business in this district. Google has also repeatedly

admitted that venue is proper in this District for various patent cases. See e.g., Solas OLED Ltd.

v. Google, Inc. (WDTX Case No. 6-19-cv-00515) and VideoShare, LLC v. Google LLC et al

(WDTX Case No. 6-19-cv-00663).

                                   THE PATENTS-IN-SUIT
                                   U.S. Patent No. 9,967,615
       50.     Sonos is the owner of U.S. Patent No. 9,967,615 (the “’615 Patent”), entitled

“Networked Music Playback,” which was duly and legally issued by the United States Patent and

Trademark Office (“USPTO”) on May 8, 2018. A copy of the ’615 Patent, is attached hereto as

Exhibit 1.

       51.     The ’615 Patent relates generally to technology for facilitating transfer of playback

responsibility from a user’s device to a media playback system.

       52.     The ’615 Patent recognized that “[t]echnological advancements have increased the

accessibility of music content, as well as other types of media….” ’615 Patent at 1:19-20. This

allowed users to access audio and video content over the Internet. Id. at 1:21-26.

       53.     But, the ’615 Patent identified a particular problem and provided an

unconventional technological solution. Specifically, the patent recognized that “[w]ired or

wireless networks can be used to connect one or more multimedia playback devices for a home

or other location playback network (e.g., a home music system).” ’615 Patent at 1:66-2:2. This

means that “[m]usic and/or other multimedia content can be shared among devices and/or groups

of devices (also referred to herein as zones) associated with a playback network.” Id. at 2:6-9.

The ’615 Patent is directed to a method, tangible media, and controller that “facilitate streaming

or otherwise providing music from a music-playing application (e.g., browser-based application,




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native music player, other multimedia application, and so on) to a multimedia content playback

(e.g., SonosTM) system.” Id. at 2:10-14.

       54.     The ’615 Patent provides an unconventional technological solution to this

problem. For example, the ’615 Patent describes an “Example Controller” that “can be used to

facilitate the control of multi-media applications….” ’615 Patent at 9:8-14. “In particular, the

controller 500 is configured to facilitate a selection of a plurality of audio sources available on the

network and enable control of one or more zone players … through a wireless network interface

508.” Id. at 9:14-18. Further, the ’615 Patent describes embodiments that “enable a user to stream
music from a music-playing application (e.g., browser-based application, native music player,

other multimedia application and so on) to a local multimedia content playback (e.g., SonosTM)

system.” ’615 Patent at 12:8-12. More specifically, the ’615 Patent teaches that while “a user

listens to a third party music application (e.g., Pandora™ Rhapsody™, Spotify™, and so on)” on

a user device, such as the user’s “smart phone,” the user can “select[] an option to continue playing

[the current] channel on her household music playback system (e.g., SonosTM),” which will cause

the user’s “playback system” to “pick[] up from the same spot on the selected channel that was

on her phone and output[] that content (e.g., that song) on speakers and/or other playback devices

connected to the household playback system.” Id. at 12:44-53; see also id. at 13:1-53.

       55.     The ’615 Patent goes on to teach specific technology for facilitating this transfer

of playback responsibility from the user’s device to the user’s playback system. For instance, the

’615 Patent teaches that one aspect of this technology involves causing data for retrieving

network-based media content (such as a uniform resource locator (URI)) to be passed to a

playback device in the playback system so that the playback device can “run on its own to fetch

the content” from a networked audio source, such as a “cloud” server that is accessible over the

Internet. Id. at 12:53-63; see also id. at 12:63-67 (describing that “[a] third party application can

open or utilize an application programming interface (API) to pass music to the household

playback system without tight coupling to that household playback system”); 15:47-16:19

(describing a “throw it over the wall” approach in which “a third party application provides a


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multimedia playback device (e.g., a Sonos™ zone player (ZP)) with enough information about

content (e.g., an audio track) so that . . . the local playback system (e.g., SonosNet™) can directly

access a source of the content and . . . play the content directly off the network (e.g., the Internet)

or cloud,” where the “connection between the third-party application and the local playback

device (e.g., Sonos ZonePlayer™) can be direct over a local area network (LAN)” or “remote

through a proxy server in the cloud”); 16:53-17:4 (describing various embodiments for “queue

management” associated with the transfer of playback from a control device to a playback system,

including an embodiment where a “shared queue is provided between the local playback system
and the third party application to keep the local system and the application synchronized”).

Further, the ’615 Patent teaches that another aspect of this technology involves transitioning the

user’s device into a mode in which it functions to control the playback of the media content by

the user’s playback system after the transfer. Id. at 16:20-42, 17:5-20. In this way, the technology

taught by the ’615 Patent provides for intuitive and seamless transfer of playback responsibility

from a user’s device to a media playback system.

       56.     In line with these teachings, the ’615 Patent claims devices, computer-readable

media, and methods for facilitating transfer of playback responsibility from a user’s device to a

media playback system.

       57.     For example, claim 13 of the ’615 Patent recites a non-transitory computer

readable storage medium including instructions for execution by a processor that, when executed,

cause a control device to perform various functions that facilitate transfer of playback

responsibility from the device to a media playback system. See ’615 Patent, claim 13. When the

instructions are executed, the control device is initially operable to (i) cause a graphical interface

to display a control interface including one or more transport controls to control playback by the

control device, (ii) identify playback devices connected to a local area network, (iii) cause the

graphical interface to display a selectable option for transferring playback from the control device,

and (iv) detect a set of inputs to transfer playback from the control device to a particular playback

device. Id. Additionally, the instructions configure the control device so that, after detecting the


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set of inputs to transfer playback from the control device to the particular playback device, the

control device is operable to cause playback to be transferred from the control device to the

particular playback device by (a) causing one or more first cloud servers to add multimedia

content to a local playback queue on the particular playback device, wherein adding the

multimedia content to the local playback queue comprises the one or more first cloud servers

adding, to the local playback queue, one or more resource locators corresponding to respective

locations of the multimedia content at one or more second cloud servers of a streaming content

service, (b) causing playback at the control device to be stopped, and (c) modifying the one or
more transport controls of the control interface to control playback by the playback device. Id.

Additionally yet, the instructions configure the control device so that the control device is operable

to cause the particular playback device to play back the multimedia content, which involves the

particular playback device retrieving the multimedia content from one or more second cloud

servers of a streaming content service and playing back the retrieved multimedia content. Id.

                                    U.S. Patent No. 10,779,033

       58.     Sonos is the owner of U.S. Patent No. 10,779,033 (the “’033 Patent”), entitled

“Systems And Methods For Networked Music Playback,” which was duly and legally issued by

the United States Patent and Trademark Office (“USPTO”) on September 15, 2020. A copy of

the ’966 Patent, is attached hereto as Exhibit 2.

       59.     The ’033 Patent is related to the ’615 Patent in that they are both continuations of

application No. 13/341,237, filed on December 30, 2011, now U.S. Patent No. 9,654,821. Thus,

the ’033 and ’615 Patents share essentially the same specification. Sonos incorporates by

reference and re-alleges paragraphs 52-58 of this Amended Complaint as if fully set forth herein.

       60.     Like the ’615 Patent, the ’033 Patent claims devices, computer-readable media,

and methods for facilitating transfer of playback responsibility from a user’s device to a media

playback system, which provide an unconventional solution to the technological problem

described in the ’615 Patent.




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       61.     For example, claim 1 of the ’033 Patent recites a computing device with specific

hardware configurations, including a non-transitory computer-readable medium that stores

program instruction that can be executed by the device’s processor(s). See ’033 Patent, claim 1.

When the instructions are executed, the computing device can initially operate in a first mode in

which it is configured for playback of a remote playback queue provided by a cloud-based

computing system associated with a cloud-based media service. Id. In that mode, the computing

device is operable to (i) display a representation of one or more playback devices in a media

playback system that are communicatively coupled to the computing device over a data network
and available to accept playback responsibility for the remote playback queue, and (ii) while

displaying the representation of the one or more playback devices, receive user input indicating a

selection of at least one given playback device from the one or more playback devices. Id.

Additionally, the instructions configure the computing device so that, based on receiving the user

input, the computing device is operable to transmit an instruction for the at least one given

playback device to take over responsibility for playback of the remote playback queue from the

computing device, wherein the instruction configures the at least one given playback device to (i)

communicate with the cloud-based computing system in order to obtain data identifying a next

one or more media items that are in the remote playback queue, (ii) use the obtained data to

retrieve at least one media item in the remote playback queue from the cloud-based media service;

and (iii) play back the retrieved at least one media item. Id. Additionally yet, the instructions

configure the computing device so that the computing device is operable to detect an indication

that playback responsibility for the remote playback queue has been successfully transferred from

the computing device to the at least one given playback device, and then after detecting the

indication, transition from (a) the first mode in which the computing device is configured for

playback of the remote playback queue to (b) a second mode in which the computing device is

configured to control the at least one given playback device’s playback of the remote playback

queue and the computing device is no longer configured for playback of the remote playback

queue. Id.


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                                    U.S. Patent No. 9,344,206

       62.     Sonos is the owner of U.S. Patent No. 9,344,206 (the “’206 Patent”), entitled

“Method And Apparatus For Updating Zone Configurations In A Multi-Zone System,” which

was duly and legally issued by the United States Patent and Trademark Office (“USPTO”) on

May 17, 2016. A copy of the ’206 Patent, is attached hereto as Exhibit 3.

       63.     The ’206 Patent relates generally to consumer electronics and human-computer

interaction and, more specifically, to controlling or manipulating a plurality of multimedia players

in a multi-zone system. See, e.g., ’206 Patent at 1:25-29.
       64.     The ’206 Patent recognized that users demand not only quality audio reproduction

but also a system that allows multiple players to access music from different sources. ’206 Patent

at 1:30-40. Before the ’206 Patent, a conventional multi-zone audio system might include a

number of audio sources, but each audio source had to be connected to its own amplifier and a set

of speakers and was typically installed in one place. Id. at 1:40-44. This had inherent limitations.

“In order to play an audio source at one location, the audio source must be provided locally or

from a centralized location. When the audio source is provided locally, the multi-zone audio

system functions as a collection of many stereo systems, making source sharing difficult. When

the audio source is provided centrally, the centralized location may include a juke box, many

compact discs, an AM or FM radio, tapes, or others. To send an audio source to an audio player

demanding such source, a cross-bar type of device is used to prevent the audio source from going

to other audio players that may be playing other audio sources.” Id. at 1:44-44.

       65.     Moreover, as the ’206 Patent recognized, “[i]n order to achieve playing different

audio sources in different audio players, the traditional multi-zone audio system is generally either

hard-wired or controlled by a pre-configured and pre-programmed controller.” ’206 Patent at

1:56-59. Such a system created problems. “While the pre-programmed configuration may be

satisfactory in one situation, it may not be suitable for another situation. For example, a person

would like to listen to broadcast news from his/her favorite radio station in a bedroom, a bathroom

and a den while preparing to go to work in the morning. The same person may wish to listen in


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the den and the living room to music from a compact disc in the evening. In order to satisfy such

requirements, two groups of audio players must be established. In the morning, the audio players

in the bedroom, the bathroom and the den need to be grouped for the broadcast news. In the

evening, the audio players in the den and the living room are grouped for the music. Over the

weekend, the audio players in the den, the living room, and a kitchen are grouped for party music.

Because the morning group, the evening group and the weekend group contain the den, it can be

difficult for the traditional system to accommodate the requirement of dynamically managing the

ad hoc creation and deletion of groups.” Id. at 1:59-2:10.
       66.     Thus, the ’206 Patent recognized “a need for dynamic control of the audio players

as a group” and a system in which “the audio players may be readily grouped.” ’206 Patent at

2:11-13. The invention of the ’206 Patent would, thus, overcome the problems “in a traditional

multi-zone audio system [where] the audio players have to be adjusted one at a time, resulting in

an inconvenient and non-homogenous audio environment.” Id. at 2:13-16.

       67.     The ’206 Patent provided an unconventional solution to this technological

problem. “In general, the present invention pertains to controlling a plurality of multimedia

players, or simply players, in groups.” ’206 Patent at 2:28-29. One specific aspect of the grouping

technology that is taught by the ’206 Patent involves a controller with a user interface that permits

a user to configure and save a “zone scene,” which may comprise a “predefined” grouping of zone

players that can later be “activated” (or “invoked”) in order to group the zone players in the “zone

scene” together for synchronous playback. Id. at 2:30-53, 2:60-3:4, 8:19-10:45. The ’206 Patent

explains that this “zone scene” technology for grouping zone players together for synchronous

playback provides improvements over the existing technology for grouping zone players together

for synchronous playback, which involved defining the group membership at the time that the

group was to be invoked – particularly in situations where a larger number of zone players are to

be grouped together for synchronous playback. Id. at 8:19-55. For instance, the benefits

highlighted by the ’206 Patent include (i) allowing a group of zone players to be “predefined” as

part of a “zone scene” so that the group’s membership need not be defined at the time that the


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group is to be invoked, (ii) allowing a predefined group to be invoked without requiring the zone

players in the group to be separated from other groups beforehand, and (iii) allowing zone players

to exist as part of multiple different predefined groups that can be invoked in order to dynamically

group the zone players for synchronous playback. Id. at 8:19-10:45.

       68.     In line with these teachings, the ’206 Patent claims devices, computer-readable

media, and methods for managing and using “zone scenes” to facilitate grouping of zone players.

For example, claim 1 of the ’206 Patent recites a “multimedia controller including a processor”

that is configured to (i) receive, via a network interface, a zone configuration from a first
independent playback device of a plurality of independent playback devices, wherein the zone

configuration is configured via the controller and maintained at the first independent playback

device, and wherein the zone configuration characterizes one or more zone scenes, each zone

scene identifying a group configuration associated with two or more of the plurality of

independent playback devices, and (ii) cause a selectable indication of the received zone

configuration to be displayed, wherein the displayed selectable indication is selectable to cause

one or more of the zone scenes to be invoked by two or more of the plurality of independent

playback devices. See ’206 Patent, claim 1.

                                   U.S. Patent No. 10,469,966

       69.     Sonos is the owner of U.S. Patent No. 10,469,966 (the “’966 Patent”), entitled

“Zone Scene Management,” which was duly and legally issued by the United States Patent and

Trademark Office (“USPTO”) on November 5, 2019. A copy of the ’966 Patent, is attached

hereto as Exhibit 4.

       70.     The ’966 Patent is related to the ’206 Patent in that they are both continuations of

application No. 13/896,829, filed on May 17, 2013, now U.S. Patent No. 8,843,228. Thus, the

’966 and ’206 Patents share essentially the same specification. Sonos incorporates by reference

and re-alleges paragraphs 64-69 of this Amended Complaint as if fully set forth herein.

       71.     The ’906 Patent claims devices, computer-readable media, and methods for

managing and using “zone scenes” to facilitate grouping of zone players, which provides an


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unconventional solution to the technological problems related to grouping zone players that are

described in the ’906 Patent.

       72.     For example, claim 1 of the ’966 Patent describes a computing device with a

processor that can execute instructions stored in the computing device’s non-transitory, computer-

readable medium. Those instructions, when executed, cause the computing device to be operable

to (i) receive a first request to create a first zone scene comprising a first predetermined grouping

of zone players that are to be configured for synchronous playback when the first zone scene is

invoked, and (ii) based on the first request, cause creation of the first zone scene, cause an
indication of the first zone scene to be transmitted to a first zone player in the first zone scene,

and cause storage of the first zone scene. See, e.g., ’966 Patent, claim 1. Additionally, the

instructions, when executed, cause the computing device to be operable to (i) receive a second

request to create a second zone scene comprising the first zone player and at least one other zone

player that is not in the first zone scene, and (ii) based on the second request, cause creation of

the second zone scene, cause an indication of the second zone scene to be transmitted to the first

zone player, and cause storage of the second zone scene. Id. Additionally yet, the instructions,

when executed, cause the computing device to be operable to (i) display representations of the

first and second zone scenes, (ii) while displaying the representations, receive a third request to

invoke the first zone scene, and (iii) based on the third request, cause the first zone player to

transition from operating in a standalone mode to operating in accordance with the first predefined

grouping of zone players so that the first zone player is configured to coordinate with at least the

second zone player to output media in synchrony with output of media by at least the second zone

player. Id.

                                   U.S. Patent No. 10,848,885

       73.     Sonos is the owner of U.S. Patent No. 10,848,885 (the “’885 Patent”), entitled

“Zone Scene Management,” which was duly and legally issued by the United States Patent and

Trademark Office (“USPTO”) on November 24, 2020. A copy of the ’885 Patent, is attached

hereto as Exhibit 45.


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        74.     The ’885 Patent is related to the ’206 and ’966 Patents in that they are all

continuations of application No. 13/896,829, filed on May 17, 2013, now U.S. Patent No.

8,843,228. Thus, the ’885, ’966 and ’206 Patents share essentially the same specification. Sonos

incorporates by reference and re-alleges paragraphs 64-73 of this Amended Complaint as if fully

set forth herein.

        75.     The ’885 Patent claims devices, computer-readable media, and methods for

managing and operating in accordance with different “zone scenes,” which provides an

unconventional solution to the technological problems related to grouping zone players that are
described in the ’885 Patent.

        76.     For example, claim 1 of the ’885 Patent describes a first zone player with one or

more processors that can execute instructions stored in the first zone player’s non-transitory,

computer-readable medium. Those instructions, when executed, cause the first zone player to be

operable to, while operating in a standalone mode, (i) receive a first indication that the first zone

player has been added to a first zone scene comprising a first predetermined grouping of zone

players that are to be configured for synchronous playback when the first zone scene is invoked,

and (ii) receive a second indication that the first zone player has been added to a second zone

scene comprising the first zone player and at least one other zone player that is not in the first

zone scene that are to be configured for synchronous playback when the second zone scene is

invoked. Id. Additionally, the instructions, when executed, cause the first zone player to continue

to operate in a standalone mode until one of the first and second zone scenes has been selected

for invocation. Id. Additionally yet, the instructions, when executed, cause the first zone player

to be operable to, (i) after one of the first or second zone scenes has been selected for invocation,

receive an instruction to operate in accordance with the given first or second zone scene

comprising a predefined grouping of zone player and (ii) based on the instruction, transition from

operating in a standalone mode to operating in accordance with the predefined grouping of zone

players so that the first zone player is configured to output media in synchrony with output of

media by at least one other zone player in the predefined grouping. Id.


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                COUNT I: INFRINGEMENT OF U.S. PATENT NO. 9,967,615

         77.    Sonos incorporates by reference and re-alleges paragraphs 1-83 of this Amended

Complaint as if fully set forth herein.

         78.    Google and/or users of the Google Wireless Audio System have directly infringed

(either literally or under the doctrine of equivalents) and continue to directly infringe one or more

of the claims of the ’615 Patent, in violation of 35 U.S.C. § 271(a), by making, using, offering for

sale, and/or selling the Google Wireless Audio System within the United States and/or importing

the Google Wireless Audio System into the United States without authority or license.
         79.    As just one non-limiting example, set forth below is an exemplary infringement

claim chart for claim 13 of the ’615 Patent in connection with the Google Wireless Audio System.

This claim chart is based on publicly available information. Sonos reserves the right to modify

this claim chart, including, for example, on the basis of information about the Google Wireless

Audio System that it obtains during discovery.

          Claim: 13                      Chromecast-Enabled Computing Devices
    A tangible, non-      At least each smartphone, tablet, and computer running the YouTube
    transitory computer   Music app, the Google Play Music app, the YouTube app and/or other
    readable storage      native or web-based Chromecast-enabled apps (where a computing
    medium including      device installed with at least one of these Chromecast-enabled apps is
    instructions for      referred to herein as a “Chromecast-enabled computing device”1,2)
    execution by a        comprises a “control device,” as recited in claim 13. At least each
    processor, the        Home Mini, Nest Mini, Home, Home Max, Home Hub, Nest Hub,
    instructions, when    Nest Hub Max, Nest Wifi Point, Chromecast, Chromecast Audio,
    executed, cause a     Chromecast Ultra, Chromecast with Google TV, and Nest Audio
    control device to     (“Chromecast-enabled media player”) is a data network device
    implement a method    configured to process and output audio, and thus, comprises a
    comprising:           “playback device” as recited in claim 13. See, e.g.,
                          https://store.google.com/us/magazine/compare_pixel;


1
  Any reference to a “Chromecast-enabled computing device” or “Chromecast-enabled media
player” includes each version and generation of such device/player unless otherwise noted.
2
  Each Google “Pixel” smartphone, tablet, and computer (e.g., the Pixel 3, Pixel 3 XL, Pixel 3a,
Pixel 3a XL, Pixel 4, Pixel 4 XL, and Pixel 4a phones, the Pixel Slate tablet, and the Pixelbook
and Pixelbook Go laptops) running the YouTube Music app, the Google Play Music app, the
YouTube app, the Google Home app, and/or other native or web-based Chromecast-enabled app
is an example of a “Chromecast-enabled computing device.”


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      Claim: 13                         Chromecast-Enabled Computing Devices
                         https://store.google.com/us/product/google_pixelbook_specs;
                         https://store.google.com/us/product/pixel_slate_specs;
                         https://store.google.com/us/product/google_home_max?hl=en-US;
                         https://store.google.com/us/product/google_home_max_partners?hl=e
                         n-US;
                         https://store.google.com/product/chromecast_apps?utm_source=chro
                         mecast.com.

                         In addition to being a “playback device” as recited in claim 13, each
                         Home Hub, Nest Hub, and Nest Hub Max (referred to herein as a
                         “Hub media player”) is installed with Home/Nest Hub controller
                         software such that the given Hub media player also comprises a
                         “control device,” as recited in claim 13. See, e.g.,
                         https://store.google.com/us/product/google_nest_hub?hl=en-
                         US#overview-modal-music;
                         https://store.google.com/us/product/google_nest_hub_max?hl=en-US;
                         https://support.google.com/googlenest/answer/9165738?hl=en-
                         GB&ref_topic=7030084.

                         Each Chromecast-enabled computing device includes a tangible, non-
                         transitory computer-readable storage medium comprising instructions
                         that, when executed by a Chromecast-enabled computing device’s
                         processor, cause that Chromecast-enabled computing device to
                         perform the functions identified below. See, e.g.,
                         https://store.google.com/us/magazine/compare_pixel;
                         https://store.google.com/us/product/google_pixelbook_specs;
                         https://store.google.com/us/product/pixel_slate_specs. Likewise, each
                         Hub media player includes a tangible, non-transitory computer-
                         readable storage medium comprising instructions that, when executed
                         by a Hub media player’s processor, cause that Hub media player to
                         perform the functions identified below. See, e.g.,
                         https://store.google.com/us/product/google_home_max?hl=en-US.
causing a graphical      Each Chromecast-enabled computing device comprises instructions
interface to display a   that, when executed by a Chromecast-enabled computing device’s
control interface        processor, cause its graphical interface to display a control interface
including one or         including one or more transport controls to control playback by the
more transport           Chromecast-enabled computing device.
controls to control
playback by the          For instance, each Chromecast-enabled computing device is
control device;          programmed with the capability to cause its graphical interface to
                         display a control interface having one or more transport controls that,
                         at times, are configured to control the Chromecast-enabled computing
                         device’s playback of multimedia content from a streaming content
                         service, among other media sources. See, e.g.,
                         https://support.google.com/googlenest/answer/7181830?hl=en-


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Claim: 13                    Chromecast-Enabled Computing Devices
              GB&ref_topic=7030084 (“You can even use your mobile device or
              tablet as a remote and control everything from playback to volume.”);
              https://support.google.com/chromecast/answer/6178107?co=GENIE.P
              latform%3DAndroid&hl=en (“Using your phone or tablet: [ ] You can
              use the playback controls on the Google Play Music app . . . Using
              your computer: [ ] You can use the playback controls on Google Play
              Music, near the bottom of the screen.”);
              https://support.google.com/chromecast/answer/2995235?hl=en-AU;
              https://support.google.com/googlenest/answer/7030379?co=GENIE.Pl
              atform%3DAndroid&hl=en-GB;
              https://support.google.com/chromecast/answer/3265953?hl=en-
              GB&ref_topic=4602553. Examples of this functionality are
              illustrated in the following screenshots from a Chromecast-enabled
              computing device running at least the YouTube Music, Google Play
              Music, and YouTube apps:




              Likewise, each Hub media player comprises instructions that, when
              executed by a Hub media player’s processor, cause its graphical
              interface to display a control interface including one or more transport
              controls to control playback by the Hub media player.

              For instance, each Hub media player is programmed with the
              capability to cause its graphical interface to display a control interface
              having one or more transport controls that, at times, are configured to
              control the Hub media player’s playback of multimedia content from a
              streaming content service, among other media sources. See, e.g.,
              https://store.google.com/us/product/google_nest_hub?hl=en-
              US#overview-modal-music (“YouTube Music on demand. . . . Stream
              top music services.”);
              https://store.google.com/us/product/google_nest_hub_max?hl=en-US
              (“jam out with YouTube Music.”);



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     Claim: 13                         Chromecast-Enabled Computing Devices
                         https://support.google.com/googlenest/answer/9165738?hl=en-
                         GB&ref_topic=7030084 (“With YouTube built-in to your Google
                         Nest display, you can watch YouTube Originals, how-to videos and
                         much more, seamlessly on your screen.”). Examples of this
                         functionality are illustrated in the following screenshots from a Hub
                         media player running at least the YouTube Music, Google Play Music,
                         and YouTube apps:




after connecting to a    Each Chromecast-enabled computing device comprises instructions
local area network       that, when executed by a Chromecast-enabled computing device’s
via a network            processor, cause that Chromecast-enabled computing device to, after
interface, identifying   connecting to a local area network (“LAN”) via a network interface,
playback devices         identify Chromecast-enabled media players connected to the LAN.
connected to the local
area network;            For instance, each Chromecast-enabled computing device is
                         programmed such that, after connecting to a LAN, the Chromecast-
                         enabled computing device is configured to identify one or more
                         Chromecast-enabled media players connected to that same LAN. See,


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      Claim: 13                         Chromecast-Enabled Computing Devices
                         e.g., https://support.google.com/googlenest/answer/7181830?hl=en-
                         GB&ref_topic=7030084 (“Make sure that your mobile device or tablet
                         is connected to the same Wi-Fi network or linked to the same account
                         as your Google Nest or Home speaker or display. . . . Tap the speaker
                         or display for which you'd like to cast.”);
                         https://support.google.com/chromecast/answer/6178107?co=GENIE.P
                         latform%3DAndroid&hl=en (“Connect your phone or tablet and
                         Chromecast to the same wireless network. . . . Select your Chromecast
                         device from the device list.”);
                         https://support.google.com/chromecast/answer/2995235?hl=en-AU
                         (“Make sure that your mobile device or computer is connected to the
                         same Wi-Fi network as Chromecast. . . . Tap the Chromecast device to
                         which you want to cast.”);
                         https://support.google.com/chromecast/answer/3228332?hl=en-
                         GB&ref_topic=4602553&co=GENIE.Platform%3DDesktop&oco=1(“
                         To show Chrome on your TV, you’ll need . . . [t]o connect your
                         computer and Chromecast device to the same Wi-Fi network.”);
                         https://support.google.com/chromecast/answer/3265953?hl=en-
                         GB&ref_topic=4602553.

                         Likewise, each Hub media player comprises instructions that, when
                         executed by a Hub media player’s processor, cause that Hub media
                         player to, after connecting to a LAN via a network interface, identify
                         Chromecast-enabled media players connected to the LAN.

                         For instance, each Hub media player is programmed such that, after
                         connecting to a LAN, the Hub media player is configured to identify
                         one or more Chromecast-enabled media players connected to that
                         same LAN. See,
                         e.g.,https://support.google.com/googlenest/answer/9563059?hl=en-
                         GB&ref_topic=7030084 (“At the bottom-left corner of the screen, tap
                         Devices       to see the list of available devices and speaker groups.”).
causing the graphical    Each Chromecast-enabled computing device comprises instructions
interface to display a   that, when executed by a Chromecast-enabled computing device’s
selectable option for    processor, cause its graphical interface to display a selectable option
transferring playback    for transferring playback from the Chromecast-enabled computing
from the control         device.
device;
                         For instance, each Chromecast-enabled computing device is
                         programmed with the capability to cause its graphical interface to
                         display a selectable option (e.g., a selectable “Cast button”) for
                         transferring playback of multimedia content from the Chromecast-
                         enabled computing device to another device (e.g., a Chromecast-
                         enabled media player). See, e.g.,
                         https://support.google.com/googlenest/answer/7181830?hl=en-


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Claim: 13                    Chromecast-Enabled Computing Devices
              GB&ref_topic=7030084 (“Tap the Cast button . . . . Tap the speaker
              or display for which you'd like to cast.”);
              https://support.google.com/chromecast/answer/6178107?co=GENIE.P
              latform%3DAndroid&hl=en (“Tap the Cast button . . . . Select your
              Chromecast device from the device list.”);
              https://support.google.com/chromecast/answer/2995235?hl=en-AU
              (“Tap the Cast button . . . . Tap the Chromecast device to which you
              want to cast.”);
              https://support.google.com/chromecast/answer/3228332?hl=en-
              GB&ref_topic=4602553&co=GENIE.Platform%3DDesktop&oco=1(“
              2. At the top right, click More      Cast. 3. Choose the Chromecast
              device where you want to watch the content.”);
              https://support.google.com/chromecast/answer/3265953?hl=en-
              GB&ref_topic=4602553. Examples of this functionality are
              illustrated in the following screenshots from a Chromecast-enabled
              computing device running at least the YouTube Music, Google Play
              Music, and YouTube apps:




              Likewise, each Hub media player comprises instructions that, when
              executed by a Hub media player’s processor, cause its graphical
              interface to display a selectable option for transferring playback from
              the Hub media player to another Chromecast-enabled media player.

              For instance, each Hub media player is programmed with the
              capability to cause its graphical interface to display a selectable option
              (e.g., a selectable “Cast button”) for transferring playback of
              multimedia content from the Hub media player to another device (e.g.,
              a Chromecast-enabled media player). See, e.g.,
              https://support.google.com/googlenest/answer/9563059?hl=en-
              GB&ref_topic=7030084 (“At the bottom-left corner of the screen, tap
              Devices      to see the list of available devices and speaker groups. . . .
              Select the device for which you want to move your media.”).


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     Claim: 13                        Chromecast-Enabled Computing Devices
                        Examples of this functionality are illustrated in the following
                        screenshots from a Hub media player running at least the YouTube
                        Music, Google Play Music, and YouTube apps:




detecting a set of      Each Chromecast-enabled computing device comprises instructions
inputs to transfer      that, when executed by a Chromecast-enabled computing device’s
playback from the       processor, cause that Chromecast-enabled computing device to detect
control device to a     a set of inputs to transfer playback from the Chromecast-enabled
particular playback     computing device to a particular Chromecast-enabled media player,
device, wherein the     where the set of inputs comprises: (i) a selection of the selectable
set of inputs           option for transferring playback from the Chromecast-enabled
comprises: (i) a        computing device and (ii) a selection of the particular Chromecast-
selection of the        enabled media player from the identified Chromecast-enabled media
selectable option for   players connected to the LAN.
transferring playback
from the control        For instance, each Chromecast-enabled computing device is
device and (ii) a       programmed with the capability to (i) detect a selection of a displayed
selection of the        selectable option (e.g., a selectable “Cast button”) for transferring
particular playback     playback of multimedia content from the Chromecast-enabled
device from the         computing device to another device, which triggers the Chromecast-
identified playback     enabled computing device to display a list of available devices for
devices connected to    transferring playback that includes one or more identified
the local area          Chromecast-enabled media players on the same LAN, and then (ii)
network:                detect a selection of at least one particular Chromecast-enabled media
                        player connected to the same LAN. See, e.g.,
                        https://support.google.com/googlenest/answer/7181830?hl=en-
                        GB&ref_topic=7030084 (“Tap the Cast button . . . . Tap the speaker



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Claim: 13                    Chromecast-Enabled Computing Devices
              or display for which you'd like to cast.”);
              https://support.google.com/chromecast/answer/6178107?co=GENIE.P
              latform%3DAndroid&hl=en (“Tap the Cast button . . . . Select your
              Chromecast device from the device list.”);
              https://support.google.com/chromecast/answer/2995235?hl=en-AU
              (“Tap the Cast button . . . . Tap the Chromecast device to which you
              want to cast.”);
              https://support.google.com/chromecast/answer/3228332?hl=en-
              GB&ref_topic=4602553&co=GENIE.Platform%3DDesktop&oco=1(“
              2. At the top right, click More      Cast. 3. Choose the Chromecast
              device where you want to watch the content.”);
              https://support.google.com/chromecast/answer/3265953?hl=en-
              GB&ref_topic=4602553. Examples of this functionality are
              illustrated in the following screenshots from a Chromecast-enabled
              computing device running at least the YouTube Music, Google Play
              Music, and YouTube apps:




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Claim: 13                   Chromecast-Enabled Computing Devices




              Likewise each Hub media player comprises instructions that, when
              executed by a Hub media player’s processor, cause that Hub media
              player to detect a set of inputs to transfer playback from the Hub
              media player to a particular Chromecast-enabled media player, where
              the set of inputs comprises: (i) a selection of the selectable option for
              transferring playback from the Hub media player and (ii) a selection
              of the particular Chromecast-enabled media player from the identified
              Chromecast-enabled media players connected to the LAN.

              For instance, each Hub media player is programmed with the
              capability to (i) detect a selection of a displayed selectable option
              (e.g., a selectable “Cast button”) for transferring playback of
              multimedia content from the Hub media player to another device,
              which triggers the Hub media player to display a list of available
              devices for transferring playback that includes one or more identified
              Chromecast-enabled media players on the same LAN, and then (ii)
              detect a selection of at least one particular Chromecast-enabled media
              player connected to the same LAN. See, e.g.,
              https://support.google.com/googlenest/answer/9563059?hl=en-
              GB&ref_topic=7030084 (“At the bottom-left corner of the screen, tap
              Devices      to see the list of available devices and speaker groups. . . .
              Select the device for which you want to move your media.”).
              Examples of this functionality are illustrated in the following
              screenshots from a Hub media player running at least the YouTube
              Music, Google Play Music, and YouTube apps:




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      Claim: 13                        Chromecast-Enabled Computing Devices




after detecting the set   Each Chromecast-enabled computing device comprises instructions
of inputs to transfer     that, when executed by a Chromecast-enabled computing device’s
playback from the         processor, cause that Chromecast-enabled computing device to, after
control device to the     detecting the set of inputs to transfer playback from the Chromecast-
particular playback       enabled computing device to the particular Chromecast-enabled media
device, causing           player, cause playback to be transferred from the Chromecast-enabled
playback to be            computing device to the particular Chromecast-enabled media player.
transferred from the
control device to the     For instance, each Chromecast-enabled computing device is
particular playback       programmed such that, after detecting a set of inputs to transfer the
device,                   Chromecast-enabled computing device’s playback of multimedia
                          content to at least one particular Chromecast-enabled media player,
                          the Chromecast-enabled computing device causes the playback of the
                          multimedia content to be transferred to the at least one particular
                          Chromecast-enabled media player. See, e.g.,
                          https://support.google.com/googlenest/answer/7181830?hl=en-
                          GB&ref_topic=7030084 (“When you're connected, the Cast button
                          will turn from light to dark grey, letting you know that you're


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     Claim: 13                         Chromecast-Enabled Computing Devices
                         connected.”);
                         https://support.google.com/chromecast/answer/3228332?hl=en-
                         GB&ref_topic=4602553&co=GENIE.Platform%3DDesktop&oco=1(“
                         To the right of the address bar, next to your extensions, you'll see
                         Active cast .”);
                         https://support.google.com/chromecast/answer/6178107?co=GENIE.P
                         latform%3DAndroid&hl=en;
                         https://support.google.com/chromecast/answer/2995235?hl=en-AU;
                         https://support.google.com/chromecast/answer/3265953?hl=en-
                         GB&ref_topic=4602553.

                         Likewise, each Hub media player comprises instructions that, when
                         executed by a Hub media player’s processor, cause that Hub media
                         player to, after detecting the set of inputs to transfer playback from the
                         Hub media player to the particular Chromecast-enabled media player,
                         cause playback to be transferred from the Hub media player to the
                         particular Chromecast-enabled media player.

                         For instance, each Hub media player is programmed such that, after
                         detecting a set of inputs to transfer the Hub media player’s playback
                         of multimedia content to at least one particular Chromecast-enabled
                         media player, the Hub media player causes the playback of the
                         multimedia content to be transferred to the at least one particular
                         Chromecast-enabled media player. See, e.g.,
                         https://support.google.com/googlenest/answer/9563059?hl=en-
                         GB&ref_topic=7030084.
wherein transferring     Each Chromecast-enabled computing device and each Hub media
playback from the        player is programmed such that transferring playback to the particular
control device to the    Chromecast-enabled media player comprises: (a) causing one or more
particular playback      first cloud servers to add multimedia content to a local playback queue
device comprises: (a)    on the particular Chromecast-enabled media player, where adding the
causing one or more      multimedia content to the local playback queue comprises the one or
first cloud servers to   more first cloud servers adding, to the local playback queue, one or
add multimedia           more resource locators corresponding to respective locations of the
content to a local       multimedia content at one or more second cloud servers of a
playback queue on        streaming content service, (b) causing playback at the Chromecast-
the particular           enabled computing device (or Hub media player) to be stopped, and
playback device,         (c) modifying the one or more transport controls of the control
wherein adding the       interface to control playback by the Chromecast-enabled media player.
multimedia content to
the local playback       For instance, on information and belief, each Chromecast-enabled
queue comprises the      computing device and each Hub media player is programmed such
one or more first        that, after detecting a set of inputs to transfer playback of multimedia
cloud servers adding,    content from a streaming content service (e.g., Google Play Music,
to the local playback    YouTube Music, YouTube, etc.) to at least one particular Chromecast-


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      Claim: 13                        Chromecast-Enabled Computing Devices
queue, one or more     enabled media player, the respective control device functions to (a)
resource locators      cause a first cloud server associated with the streaming content service
corresponding to       (e.g., a first Google cloud server) to add resource locators for such
respective locations   multimedia content to a local playback queue of the particular
of the multimedia      Chromecast-enabled media player, where the resource locators
content at one or      correspond to locations of the multimedia content at a second cloud
more second cloud      server associated with the streaming content service (e.g., a second
servers of a streaming Google cloud server), (b) stop its own playback of the multimedia
content service; (b)   content from the streaming content service, and (c) modify one or
causing playback at    more transport controls of its control interface such that the one or
the control device to  more transport controls function to control playback by the at least
be stopped; and (c)    one particular Chromecast-enabled media player rather than playback
modifying the one or   by the Chromecast-enabled computing device. See, e.g.,
more transport         https://support.google.com/googlenest/answer/7181830?hl=en-
controls of the        GB&ref_topic=7030084;
control interface to   https://support.google.com/chromecast/answer/6178107?co=GENIE.P
control playback by    latform%3DAndroid&hl=en;
the playback device;   https://support.google.com/chromecast/answer/2995235?hl=en-AU;
and                    https://support.google.com/googlenest/answer/9563059?hl=en-
                       GB&ref_topic=7030084;
                       https://support.google.com/chromecast/answer/3228332?hl=en-
                       GB&ref_topic=4602553&co=GENIE.Platform%3DDesktop&oco=1.
causing the particular Each Chromecast-enabled computing device comprises instructions
playback device to     that, when executed by a Chromecast-enabled computing device’s
play back the          processor, cause the particular Chromecast-enabled media player to
multimedia content,    play back the multimedia content, where the particular Chromecast-
wherein the particular enabled media player playing back the multimedia content comprises
playback device        the particular Chromecast-enabled media player retrieving the
playing back the       multimedia content from one or more second cloud servers of a
multimedia content     streaming content service and playing back the retrieved multimedia
comprises the          content.
particular playback
device retrieving the  For instance, on information and belief, each Chromecast-enabled
multimedia content     computing device is programmed such that, after causing the
from one or more       Chromecast-enabled computing device’s playback of multimedia
second cloud servers content from a streaming content service (e.g., Google Play Music,
of a streaming         YouTube Music, YouTube, etc.) to be transferred to at least one
content service and    particular Chromecast-enabled media player, the Chromecast-enabled
playing back the       computing device causes the at least one particular Chromecast-
retrieved multimedia enabled media player to play back the multimedia content from the
content.               streaming content service, which involves the particular Chromecast-
                       enabled media player retrieving the multimedia content from the
                       second cloud server associated with the streaming music service (e.g.,
                       the Google cloud server) and then playing back the retrieved
                       multimedia content. See, e.g.,


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Claim: 13                    Chromecast-Enabled Computing Devices
              https://support.google.com/googlenest/answer/7181830?hl=en-
              GB&ref_topic=7030084;
              https://support.google.com/chromecast/answer/6178107?co=GENIE.P
              latform%3DAndroid&hl=en;
              https://support.google.com/chromecast/answer/2995235?hl=en-AU;
              https://support.google.com/chromecast/answer/3228332?hl=en-
              GB&ref_topic=4602553&co=GENIE.Platform%3DDesktop&oco=1;
              https://support.google.com/chromecast/answer/3265953?hl=en-
              GB&ref_topic=4602553. Examples of this functionality are
              illustrated in the following screenshots from a Chromecast-enabled
              computing device running at least the YouTube Music, Google Play
              Music, and YouTube apps:




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Claim: 13                  Chromecast-Enabled Computing Devices




              Likewise each Hub media player comprises instructions that, when
              executed by a Hub media player’s processor, cause the particular
              Chromecast-enabled media player to play back the multimedia
              content, where the particular Chromecast-enabled media player
              playing back the multimedia content comprises the particular
              Chromecast-enabled media player retrieving the multimedia content
              from one or more second cloud servers of a streaming content service
              and playing back the retrieved multimedia content.

              For instance, on information and belief, each Hub media player is
              programmed such that, after causing the Hub media player’s playback
              of multimedia content from a streaming content service (e.g., Google
              Play Music, YouTube Music, YouTube, etc.) to be transferred to at
              least one particular Chromecast-enabled media player, the Hub media
              player causes the at least oen particular Chromecast-enabled media
              player to play back the multimedia content from the streaming content
              service, which involves the particular Chromecast-enabled media
              player retrieving the multimedia content from the second cloud server
              associated with the streaming music service (e.g., the second Google
              cloud server) and then playing back the retrieved multimedia content.
              See, e.g.,
              https://support.google.com/googlenest/answer/9563059?hl=en-
              GB&ref_topic=7030084. Examples of this functionality are
              illustrated in the following screenshots from a Hub media player
              running at least the YouTube Music, Google Play Music, and
              YouTube apps:




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       Claim: 13                        Chromecast-Enabled Computing Devices




       80.     On September 28, 2020, Sonos provided Google with a draft of the original

complaint prior to its filing. That draft identified the ’615 Patent and described how Google’s

products infringed. Thus, Google had actual knowledge of Sonos’s allegation that Google

infringed claims of the ’615 Patent prior to Sonos filing this action.

       81.     Additionally and/or alternatively, Google has indirectly infringed and continues to

indirectly infringe one or more of the claims of the ’615 Patent, in violation of 35 U.S.C. § 271(b),

by actively inducing users of the Google Wireless Audio System to directly infringe the one or


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more claims of the ’615 Patent. In particular, (a) Google had actual knowledge of the ’615 Patent

or was willfully blind to its existence prior to, and no later than, February 2019 and had actual

knowledge or was willfully blind to Sonos’s infringement allegations at least as early as

September 28, 2020 when Sonos provided Google a copy of the complaint (see ¶¶ 19-29, above),

(b) Google intentionally causes, urges, or encourages users of the Google Wireless Audio System

to directly infringe one or more claims of the ’615 Patent by promoting, advertising, and

instructing customers and potential customers about the Google Wireless Audio System

(including uses thereof) and encouraging such customers and potential customers to engage in
activity that constitutes direct infringement (see Exs. 22-27; see also citations above in the

exemplary infringement claim chart for claim 13 of the ’615 Patent), (c) Google knows (or should

know) that its actions will induce users of the Google Wireless Audio System to directly infringe

one or more claims the ’615 Patent, and (d) users of the Google Wireless Audio System directly

infringe one or more claims of the ’615 Patent. For instance, at a minimum, Google has supplied

and continues to supply the YouTube Music, Google Play Music, and YouTube apps to customers

while knowing that installation and/or use of one or more of these apps will infringe one or more

claims of the ’615 Patent, and that Google’s customers then directly infringe one or more claims

of the ’615 Patent by installing and/or using one or more of the these apps in accordance with

Google’s product literature. See, e.g., id.

       82.     Additionally and/or alternatively, Google has indirectly infringed and continues to

indirectly infringe one or more of the claims of the ’615 Patent, in violation of 35 U.S.C. § 271(c),

by offering to sell or selling within the United States, and/or importing into the United States,

components in connection with the Google Wireless Audio System that contribute to the direct

infringement of the ’615 Patent by users of the Google Wireless Audio System. In particular,

(a) Google had actual knowledge of the ’615 Patent or was willfully blind to its existence prior

to, and no later than, February 2019 and had actual knowledge or was willfully blind to Sonos’s

infringement allegations at least as early as September 28, 2020 when Sonos provided Google a

copy of the complaint (see ¶¶ 19-29 above), (b) Google offers for sale, sells, and/or imports, in


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connection with the Google Wireless Audio System, one or more material components of the

invention of the ’615 Patent that are not staple articles of commerce suitable for substantial

noninfringing use, (c) Google knows (or should know) that such component(s) were especially

made or especially adapted for use in an infringement of the ’615 Patent, and (d) users of devices

that comprise such material component(s) directly infringe one or more claims of the ’615 Patent.

For instance, at a minimum, Google offers for sale, sells, and/or imports the YouTube Music,

Google Play Music, and YouTube apps for installation on devices (e.g., smartphones, tablets, and

computers) that meet one or more claims of the ’615 Patent. See, e.g., Exs. 22-27. These apps
are a material component of the devices that meet the one or more claims of the ’615 Patent.

Further, Google especially made and/or adapted these apps for installation and use on devices that

meet the one or more claims of the ’615 Patent, and these apps are not a staple article of commerce

suitable for substantial noninfringing use. Google’s customers then directly infringe the one or

more claims of the ’615 Patent by installing and/or using these apps on the customers’ devices.

        83.     Google’s infringement of the ’615 Patent is also willful because Google (a) had

actual knowledge of the ’615 Patent no later than February 2019 and actual notice of Sonos’s

infringement contentions no later than September 28, 2020 (see ¶¶ 19-29 above), (b) engaged in

the aforementioned activity despite an objectively high likelihood that Google’s actions

constituted infringement of the ’615 Patent, and (c) this objectively-defined risk was either known

or so obvious that it should have been known to Google.

        84.     Additional allegations regarding Google’s pre-suit knowledge of the ’615 Patent

and willful infringement will likely have evidentiary support after a reasonable opportunity for

discovery.

        85.     Sonos is entitled to recover from Google all damages that Sonos has sustained as

a result of Google’s infringement of the ’615 Patent, including, without limitation, a reasonable

royalty and lost profits.

        86.     Google’s infringement of the ’615 Patent was and continues to be willful and

deliberate, entitling Sonos to enhanced damages.


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       87.     Google’s infringement of the ’615 Patent is exceptional and entitles Sonos to

attorneys’ fees and costs incurred in prosecuting this action under 35 U.S.C. § 285.

       88.     Google’s infringement of the ’615 Patent has caused irreparable harm (including

the loss of market share) to Sonos and will continue to do so unless enjoined by this Court.

              COUNT II: INFRINGEMENT OF U.S. PATENT NO. 10,779,033

       89.     Sonos incorporates by reference and re-alleges paragraphs 1-83 of this Amended

Complaint as if fully set forth herein.

       90.     Google and/or users of the Google Wireless Audio System have directly infringed
(either literally or under the doctrine of equivalents) and continue to directly infringe one or more

of the claims of the ’033 Patent, in violation of 35 U.S.C. § 271(a), by making, using, offering for

sale, and/or selling the Google Wireless Audio System within the United States and/or importing

the Google Wireless Audio System into the United States without authority or license.

       91.     As just one non-limiting example, set forth below is an exemplary infringement

claim chart for claim 1 of the ’033 Patent in connection with the Google Wireless Audio System.

This claim chart is based on publicly available information. Sonos reserves the right to modify

this claim chart, including, for example, on the basis of information about the Google Wireless

Audio System that it obtains during discovery.

      Claim: 1                           Chromecast-Enabled Computing Devices
 A computing device       At least each smartphone, tablet, and computer running the YouTube
 comprising:              Music app, the Google Play Music app, the YouTube app, and/or
                          other native or web-based Chromecast-enabled apps (where a
                          computing device installed with at least one of these Chromecast-
                          enabled apps is referred to herein as a “Chromecast-enabled
                          computing device”) comprises a “computing device,” as recited in
                          claim 1. At least each Home Mini, Nest Mini, Home, Home Max,
                          Home Hub, Nest Hub, Nest Hub Max, Nest Wifi Point, Chromecast,
                          Chromecast Audio, Chromecast Ultra, Chromecast with Google TV,
                          and Nest Audio (“Chromecast-enabled media player”) is a data
                          network device configured to process and output audio, and thus,
                          comprises a “playback device” as recited in claim 13. See, e.g.,
                          https://store.google.com/us/magazine/compare_pixel;
                          https://store.google.com/us/product/google_pixelbook_specs;
                          https://store.google.com/us/product/pixel_slate_specs;


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      Claim: 1                        Chromecast-Enabled Computing Devices
                       https://store.google.com/us/product/google_home_max?hl=en-US;
                       https://store.google.com/us/product/google_home_max_partners?hl=e
                       n-US;
                       https://store.google.com/product/chromecast_apps?utm_source=chro
                       mecast.com.

                        In addition to being a “playback device” as recited in claim 1, each
                        Home Hub, Nest Hub, and Nest Hub Max (referred to herein as a
                        “Hub media player”) is installed with Home/Nest Hub controller
                        software such that the given Hub media player also comprises a
                        “computing device,” as recited in claim 1. See, e.g.,
                        https://store.google.com/us/product/google_nest_hub?hl=en-
                        US#overview-modal-music;
                        https://store.google.com/us/product/google_nest_hub_max?hl=en-US;
                        https://support.google.com/googlenest/answer/9165738?hl=en-
                        GB&ref_topic=7030084.
at least one processor; Each Chromecast-enabled computing device and each Hub media
                        player includes at least one processor. See, e.g.,
                        https://store.google.com/us/magazine/compare_pixel;
                        https://store.google.com/us/product/google_pixelbook_specs;
                        https://store.google.com/us/product/pixel_slate_specs;
                        https://store.google.com/us/product/google_home_max?hl=en-US.
a non-transitory        Each Chromecast-enabled computing device and each Hub media
computer-readable       player includes a non-transitory computer-readable medium. See, e.g.,
medium; and             https://store.google.com/us/magazine/compare_pixel;
                        https://store.google.com/us/product/google_pixelbook_specs;
                        https://store.google.com/us/product/pixel_slate_specs;
                        https://store.google.com/us/product/google_home_max?hl=en-US.
program instructions Each Chromecast-enabled computing device and each Hub media
stored on the non-      player includes program instructions stored on the non-transitory
transitory computer-    computer-readable medium that enable the respective device to
readable medium         perform the functions identified below. See, e.g.,
that, when executed     https://store.google.com/us/magazine/compare_pixel;
by the at least one     https://store.google.com/us/product/google_pixelbook_specs;
processor, cause the    https://store.google.com/us/product/pixel_slate_specs;
computing device to     https://store.google.com/us/product/google_home_max?hl=en-US.
perform functions
comprising:
operating in a first   Each Chromecast-enabled computing device comprises instructions
mode in which the      that, when executed by a Chromecast-enabled computing device’s
computing device is    processor, cause the Chromecast-enabled computing device to operate
configured for         in a first mode in which the Chromecast-enabled computing device is
playback of a remote   configured for playback of a remote playback queue provided by a
playback queue         cloud-based computing system associated with a cloud-based media
provided by a cloud-   service.


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      Claim: 1                    Chromecast-Enabled Computing Devices
based computing
system associated    For instance, each Chromecast-enabled computing device is
with a cloud-based   programmed with the capability to operate in a mode in which the
media service;       Chromecast-enabled computing device is configured for playback of a
                     remote playback queue provided by a Google cloud server associated
                     with a cloud-based media service (e.g., Google Play Music, YouTube
                     Music, YouTube, etc.). See, e.g.,
                     https://support.google.com/googlenest/answer/7181830?hl=en-
                     GB&ref_topic=7030084;
                     https://support.google.com/chromecast/answer/6178107?co=GENIE.P
                     latform%3DAndroid&hl=en;
                     https://support.google.com/chromecast/answer/2995235?hl=en-AU;
                     https://support.google.com/googlenest/answer/9563059?hl=en-
                     GB&ref_topic=7030084;
                     https://support.google.com/chromecast/answer/3228332?hl=en-
                     GB&ref_topic=4602553&co=GENIE.Platform%3DDesktop&oco=1;
                     https://support.google.com/chromecast/answer/3265953?hl=en-
                     GB&ref_topic=4602553. Examples of this functionality are
                     illustrated in the following screenshots from a Chromecast-enabled
                     computing device running at least the YouTube Music, Google Play
                     Music, and YouTube apps:




                     Likewise, each Hub media player comprises instructions that, when
                     executed by a Hub media player’s processor, cause the Hub media
                     player to operate in a first mode in which the Hub media player is
                     configured for playback of a remote playback queue provided by a
                     cloud-based computing system associated with a cloud-based media
                     service.

                     For instance, each Hub media player is programmed with the
                     capability to operate in a mode in which the Hub media player is


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      Claim: 1                          Chromecast-Enabled Computing Devices
                         configured for playback of a remote playback queue provided by a
                         Google cloud server associated with a cloud-based media service (e.g.,
                         Google Play Music, YouTube Music, YouTube, etc.). See, e.g.,
                         https://store.google.com/us/product/google_nest_hub?hl=en-
                         US#overview-modal-music (“YouTube Music on demand. . . . Stream
                         top music services.”);
                         https://store.google.com/us/product/google_nest_hub_max?hl=en-US
                         (“jam out with YouTube Music.”);
                         https://support.google.com/googlenest/answer/9165738?hl=en-
                         GB&ref_topic=7030084 (“With YouTube built-in to your Google
                         Nest display, you can watch YouTube Originals, how-to videos and
                         much more, seamlessly on your screen.”). Examples of this
                         functionality are illustrated in the following screenshots from a Hub
                         media player running at least the YouTube Music, Google Play Music,
                         and YouTube apps:




while operating in the   Each Chromecast-enabled computing device comprises instructions
first mode, displaying   that, when executed by a Chromecast-enabled computing device’s
a representation of      processor, cause the Chromecast-enabled computing device to, while
one or more playback     operating in the first mode, display a representation of one or more
devices in a media       Chromecast-enabled media players in a Chromecast-enabled playback
playback system that     system that are each (i) communicatively coupled to the Chromecast-
are each i)              enabled computing device over a data network and (ii) available to
communicatively          accept playback responsibility for the remote playback queue.
coupled to the
computing device         For instance, each Chromecast-enabled computing device is
over a data network      programmed such that, while operating in a mode in which the
and ii) available to     Chromecast-enabled computing device is configured for playback of a



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      Claim: 1                          Chromecast-Enabled Computing Devices
accept playback          remote playback queue provided by a Google cloud server associated
responsibility for the   with a cloud-based media service (e.g., Google Play Music, YouTube
remote playback          Music, YouTube, etc.), the Chromecast-enabled computing device is
queue;                   operable to detect a selection of a displayed selectable option (e.g., a
                         selectable “Cast button”) for transferring playback of multimedia
                         content from the Chromecast-enabled computing device to another
                         device, which triggers the Chromecast-enabled computing device to
                         display a list of available devices for transferring playback that
                         includes one or more Chromecast-enabled media players in a
                         Chromecast-enabled playback system that are each (i)
                         communicatively coupled to the Chromecast-enabled computing
                         device over a local area network (“LAN”) and (ii) available to accept
                         playback responsibility for the remote playback queue. See, e.g.,
                         https://support.google.com/googlenest/answer/7181830?hl=en-
                         GB&ref_topic=7030084 (“Tap the Cast button . . . . Tap the speaker
                         or display for which you'd like to cast.”);
                         https://support.google.com/chromecast/answer/6178107?co=GENIE.P
                         latform%3DAndroid&hl=en (“Tap the Cast button . . . . Select your
                         Chromecast device from the device list.”);
                         https://support.google.com/chromecast/answer/2995235?hl=en-AU
                         (“Tap the Cast button . . . . Tap the Chromecast device to which you
                         want to cast.”);
                         https://support.google.com/chromecast/answer/3228332?hl=en-
                         GB&ref_topic=4602553&co=GENIE.Platform%3DDesktop&oco=1(“
                         2. At the top right, click More       Cast. 3. Choose the Chromecast
                         device where you want to watch the content.”);
                         https://support.google.com/chromecast/answer/3265953?hl=en-
                         GB&ref_topic=4602553. Examples of this functionality are
                         illustrated in the following screenshots from a Chromecast-enabled
                         computing device running at least the YouTube Music, Google Play
                         Music, and YouTube apps:




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Claim: 1                    Chromecast-Enabled Computing Devices

              Likewise, each Hub media player comprises instructions that, when
              executed by a Hub media player’s processor, cause the Hub media
              player to, while operating in the first mode, display a representation of
              one or more Chromecast-enabled media players in a Chromecast-
              enabled playback system that are each (i) communicatively coupled to
              the Hub media player over a data network and (ii) available to accept
              playback responsibility for the remote playback queue.

              For instance, each Hub media player is programmed such that, while
              operating in a mode in which the Hub media player is configured for
              playback of a remote playback queue provided by a Google cloud-
              based computing system associated with a cloud-based media service
              (e.g., Google Play Music, YouTube Music, YouTube, etc.), the Hub
              media player is operable to detect a selection of a displayed selectable
              option (e.g., a selectable “Cast button”) for transferring playback of
              multimedia content from the Hub media player to another device,
              which triggers the Hub media player to display a list of available
              devices for transferring playback that includes one or more other
              Chromecast-enabled media players in a Chromecast-enabled playback
              system that are each (i) communicatively coupled to the Hub media
              player over a LAN and (ii) available to accept playback responsibility
              for the remote playback queue. See, e.g.,
              https://support.google.com/googlenest/answer/9563059?hl=en-
              GB&ref_topic=7030084 (“At the bottom-left corner of the screen, tap
              Devices      to see the list of available devices and speaker groups. . . .
              Select the device for which you want to move your media.”).
              Examples of this functionality are illustrated in the following
              screenshots from a Hub media player running at least the YouTube
              Music, Google Play Music, and YouTube apps:




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      Claim: 1                         Chromecast-Enabled Computing Devices




while displaying the      Each Chromecast-enabled computing device comprises instructions
representation of the     that, when executed by a Chromecast-enabled computing device’s
one or more playback      processor, cause the Chromecast-enabled computing device to, while
devices, receiving        displaying the representation of the one or more Chromecast-enabled
user input indicating     media players, receive user input indicating a selection of at least one
a selection of at least   given Chromecast-enabled media player from the one or more
one given playback        Chromecast-enabled media players.
device from the one
or more playback          For instance, each Chromecast-enabled computing device is
devices;                  programmed such that, while displaying the representation of the one
                          or more Chromecast-enabled media players in a Chromecast-enabled
                          playback system that are each on the same LAN as the Chromecast-
                          enabled computing device and available to accept playback
                          responsibility for the remote playback queue, the Chromecast-enabled
                          computing device is configured to receive user input indicating a
                          selection of at least one Chromecast-enabled media player in the
                          Chromecast-enabled playback system. See, e.g.,
                          https://support.google.com/googlenest/answer/7181830?hl=en-
                          GB&ref_topic=7030084 (“Tap the speaker or display for which you'd
                          like to cast.”);
                          https://support.google.com/chromecast/answer/6178107?co=GENIE.P
                          latform%3DAndroid&hl=en (“Select your Chromecast device from
                          the device list.”);
                          https://support.google.com/chromecast/answer/2995235?hl=en-AU
                          (“Tap the Chromecast device to which you want to cast.”);
                          https://support.google.com/chromecast/answer/3228332?hl=en-
                          GB&ref_topic=4602553&co=GENIE.Platform%3DDesktop&oco=1(“
                          Choose the Chromecast device where you want to watch the
                          content.”). Examples of this functionality are illustrated in the
                          following screenshots from a Chromecast-enabled computing device
                          running at least the YouTube Music, Google Play Music, and
                          YouTube apps:




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Claim: 1                   Chromecast-Enabled Computing Devices




              Likewise each Hub media player comprises instructions that, when
              executed by a Hub media player’s processor, cause the Hub media
              player to, while displaying the representation of the one or more
              Chromecast-enabled media players, receive user input indicating a
              selection of at least one given Chromecast-enabled media player from
              the one or more Chromecast-enabled media players.

              For instance, each Hub media player is programmed such that, while
              displaying the representation of the one or more other Chromecast-
              enabled media players in a Chromecast-enabled playback system that
              are each on the same LAN as the Hub media player and available to
              accept playback responsibility for the remote playback queue, the Hub
              media player is configured to receive user input indicating a selection
              of at least one other Chromecast-enabled media player in the
              Chromecast-enabled playback system. See, e.g.,
              https://support.google.com/googlenest/answer/9563059?hl=en-
              GB&ref_topic=7030084 (“Select the device for which you want to
              move your media.”). Examples of this functionality are illustrated in
              the following screenshots from a Hub media player:




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       Claim: 1                         Chromecast-Enabled Computing Devices




based on receiving         Each Chromecast-enabled computing device comprises instructions
the user input,            that, when executed by a Chromecast-enabled computing device’s
transmitting an            processor, cause the Chromecast-enabled computing device to, based
instruction for the at     on receiving the user input, transmit an instruction for the at least one
least one given            given Chromecast-enabled media player to take over responsibility for
playback device to         playback of the remote playback queue from the Chromecast-enabled
take over                  computing device, wherein the instruction configures the at least one
responsibility for         given Chromecast-enabled media player to (i) communicate with the
playback of the            Google cloud-based computing system in order to obtain data
remote playback            identifying a next one or more media items that are in the remote
queue from the             playback queue, (ii) use the obtained data to retrieve at least one
computing device,          media item in the remote playback queue from the Google cloud-
wherein the                based media service; and (iii) play back the retrieved at least one
instruction configures     media item.
the at least one given
playback device to (i)     For instance, on information and belief, each Chromecast-enabled
communicate with           computing device is programmed such that, based on receiving the
the cloud-based            user input indicating a selection of at least one Chromecast-enabled
computing system in        media player in the Chromecast-enabled playback system that is on
order to obtain data       the same LAN as the Chromecast-enabled computing device and
identifying a next one     available to accept playback responsibility for the remote playback
or more media items        queue, the Chromecast-enabled computing device is configured to
that are in the remote     transmit an instruction for the Chromecast-enabled media player to
playback queue, (ii)       take over responsibility for playback of the remote playback queue
use the obtained data      from the Chromecast-enabled computing device, where the instruction
to retrieve at least one   configures the Chromecast-enabled media player to (i) communicate
media item in the          with a Google cloud server associated with a Google cloud-based
remote playback            media service (e.g., Google Play Music, YouTube Music, YouTube,
queue from the cloud-      etc.) in order to obtain data identifying a next one or more media items


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       Claim: 1                          Chromecast-Enabled Computing Devices
based media service;      that are in the remote playback queue (e.g., resource locators for such
and (iii) play back the   media items), (ii) use the obtained data to retrieve at least one media
retrieved at least one    item in the remote playback queue from the Google cloud-based
media item;               media service; and (iii) play back the retrieved at least one media
                          item. See, e.g.,
                          https://support.google.com/googlenest/answer/7181830?hl=en-
                          GB&ref_topic=7030084;
                          https://support.google.com/chromecast/answer/6178107?co=GENIE.P
                          latform%3DAndroid&hl=en;
                          https://support.google.com/chromecast/answer/2995235?hl=en-AU;
                          https://support.google.com/googlenest/answer/9563059?hl=en-
                          GB&ref_topic=7030084;
                          https://support.google.com/chromecast/answer/3228332?hl=en-
                          GB&ref_topic=4602553&co=GENIE.Platform%3DDesktop&oco=1.

                          Likewise each Hub media player comprises instructions that, when
                          executed by a Hub media player’s processor, cause the Hub media
                          player to, based on receiving the user input, transmit an instruction for
                          the at least one given Chromecast-enabled media player to take over
                          responsibility for playback of the remote playback queue from the
                          Hub media player, wherein the instruction configures the at least one
                          given Chromecast-enabled media player to (i) communicate with the
                          Google cloud-based computing system in order to obtain data
                          identifying a next one or more media items that are in the remote
                          playback queue, (ii) use the obtained data to retrieve at least one
                          media item in the remote playback queue from the Google cloud-
                          based media service; and (iii) play back the retrieved at least one
                          media item.

                          For instance, on information and belief, each Hub media player is
                          programmed such that, based on receiving the user input indicating a
                          selection of at least one other Chromecast-enabled media player in the
                          Chromecast-enabled playback system that is on the same LAN as the
                          Hub media player and available to accept playback responsibility for
                          the remote playback queue, the Hub media player is configured to
                          transmit an instruction for the other Chromecast-enabled media player
                          to take over responsibility for playback of the remote playback queue
                          from the Hub media player, where the instruction configures the other
                          Chromecast-enabled media player to (i) communicate with a Google
                          cloud server associated with a Google cloud-based media service (e.g.,
                          Google Play Music, YouTube Music, YouTube, etc.) in order to
                          obtain data identifying a next one or more media items that are in the
                          remote playback queue (e.g., resource locators for such media items),
                          (ii) use the obtained data to retrieve at least one media item in the




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      Claim: 1                          Chromecast-Enabled Computing Devices
                         remote playback queue from the Google cloud-based media service;
                         and (iii) play back the retrieved at least one media item. See, e.g., id.
detecting an             Each Chromecast-enabled computing device comprises instructions
indication that          that, when executed by a Chromecast-enabled computing device’s
playback                 processor, cause the Chromecast-enabled computing device to detect
responsibility for the   an indication that playback responsibility for the remote playback
remote playback          queue has been successfully transferred from the Chromecast-enabled
queue has been           computing device to the at least one given Chromecast-enabled media
successfully             player.
transferred from the
computing device to      For instance, each Chromecast-enabled computing device is
the at least one given   programmed with the capability to detect an indication that playback
playback device; and     responsibility for the remote playback queue has been successfully
                         transferred from the Chromecast-enabled computing device to at least
                         one Chromecast-enabled media player, which is demonstrated by the
                         fact that the Chromecast-enabled computing device displays an
                         indicator that playback responsibility for the remote playback queue
                         has been successfully transferred to the at least one Chromecast-
                         enabled media player that takes the form of a “Cast button” that is
                         “filled in” and/or “dark grey.” See, e.g.,
                         https://support.google.com/googlenest/answer/7181830?hl=en-
                         GB&ref_topic=7030084 (“When you're connected, the Cast button
                         will turn from light to dark grey, letting you know that you're
                         connected.”);
                         https://support.google.com/chromecast/answer/3228332?hl=en-
                         GB&ref_topic=4602553&co=GENIE.Platform%3DDesktop&oco=1(“
                         To the right of the address bar, next to your extensions, you'll see
                         Active cast .”);
                         https://support.google.com/chromecast/answer/6178107?co=GENIE.P
                         latform%3DAndroid&hl=en;
                         https://support.google.com/chromecast/answer/2995235?hl=en-AU;
                         https://support.google.com/chromecast/answer/3265953?hl=en-
                         GB&ref_topic=4602553. Examples of a Chromecast-enabled
                         computing device detecting an indication that playback responsibility
                         for the remote playback queue has been successfully transferred from
                         the Chromecast-enabled computing device to at least one Chromecast-
                         enabled media player are illustrated in the following screenshots from
                         a Chromecast-enabled computing device running at least the YouTube
                         Music, Google Play Music, and YouTube apps:




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Claim: 1                   Chromecast-Enabled Computing Devices




              Likewise, each Hub media player comprises instructions that, when
              executed by a Hub media player’s processor, cause the Hub media
              player to detect an indication that playback responsibility for the
              remote playback queue has been successfully transferred from the
              Hub media player to the at least one given Chromecast-enabled media
              player.

              For instance, each Hub media player is programmed with the
              capability to detect an indication that playback responsibility for the
              remote playback queue has been successfully transferred from the
              Hub media player to at least one other Chromecast-enabled media
              player, which is demonstrated by the fact that the Chromecast-enabled
              computing device displays an indicator that playback responsibility
              for the remote playback queue has been successfully transferred to the
              at least one other Chromecast-enabled media player that takes the
              form of a “Cast button” that is “filled in” and/or has a “dark grey”
              color along with a display of the other Chromecast-enabled media
              player’s name. See, e.g.,
              https://support.google.com/googlenest/answer/9563059?hl=en-
              GB&ref_topic=7030084. Examples of a selectable “Cast button”
              having this second visual appearance are illustrated in the following
              screenshots from a Hub media player running at least the YouTube
              Music, Google Play Music, and YouTube apps:




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      Claim: 1                        Chromecast-Enabled Computing Devices




after detecting the      Each Chromecast-enabled computing device comprises instructions
indication,              that, when executed by a Chromecast-enabled computing device’s
transitioning from i)    processor, cause the Chromecast-enabled computing device to, after
the first mode in        detecting the indication, transition from (i) the first mode in which the
which the computing      Chromecast-enabled computing device is configured for playback of
device is configured     the remote playback queue to (ii) a second mode in which the
for playback of the      Chromecast-enabled computing device is configured to control the at
remote playback          least one given Chromecast audio player’s playback of the remote
queue to ii) a second    playback queue and the Chromecast-enabled computing device is no
mode in which the        longer configured for playback of the remote playback queue.
computing device is
configured to control    For instance, each Chromecast-enabled computing device is
the at least one given   programmed such that, after detecting the indication that playback
playback device’s        responsibility for the remote playback queue has been successfully
playback of the          transferred from the Chromecast-enabled computing device to at least
remote playback          one Chromecast-enabled media player in the Chromecast-enabled
queue and the            playback system that is on the same LAN as the Chromecast-enabled


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       Claim: 1                       Chromecast-Enabled Computing Devices
computing device is    computing device, the Chromecast-enabled computing device is
no longer configured   configured to transition from (i) the first mode in which the
for playback of the    Chromecast-enabled computing device was configured for playback
remote playback        of the remote playback queue to (ii) a second mode in which the
queue.                 Chromecast-enabled computing device is configured to control the at
                       least one Chromecast-enabled media player’s playback of the remote
                       playback queue (while the Chromecast-enabled computing device
                       itself is no longer configured for playback of the remote playback
                       queue). See, e.g.,
                       https://support.google.com/googlenest/answer/7181830?hl=en-
                       GB&ref_topic=7030084;
                       https://support.google.com/chromecast/answer/6178107?co=GENIE.P
                       latform%3DAndroid&hl=en;
                       https://support.google.com/chromecast/answer/2995235?hl=en-AU;
                       https://support.google.com/chromecast/answer/3228332?hl=en-
                       GB&ref_topic=4602553&co=GENIE.Platform%3DDesktop&oco=1;
                       https://support.google.com/chromecast/answer/3265953?hl=en-
                       GB&ref_topic=4602553. Examples of a Chromecast-enabled
                       computing device in this second mode are illustrated in the following
                       screenshots from a Chromecast-enabled computing device running at
                       least the YouTube Music, Google Play Music, and YouTube apps:




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Claim: 1                   Chromecast-Enabled Computing Devices




              Each Hub media player comprises instructions that, when executed by
              a Hub media player’s processor, cause the Hub media player to, after
              detecting the indication, transition from (i) the first mode in which the
              Hub media player is configured for playback of the remote playback
              queue to (ii) a second mode in which the Hub media player is
              configured to control the at least one given Chromecast audio player’s
              playback of the remote playback queue and the Hub media player is
              no longer configured for playback of the remote playback queue.

              For instance, each Hub media player is programmed such that, after
              detecting the indication that playback responsibility for the remote
              playback queue has been successfully transferred from the Hub media
              player to at least one other Chromecast-enabled media player in the
              Chromecast-enabled playback system that is on the same LAN as the
              Hub media player, the Hub media player is configured to transition
              from (i) the first mode in which the Hub media player was configured
              for playback of the remote playback queue to (ii) a second mode in


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       Claim: 1                        Chromecast-Enabled Computing Devices
                         which the Hub media player is configured to control the at least one
                         other Chromecast-enabled media player’s playback of the remote
                         playback queue (while the Hub media player itself is no longer
                         configured for playback of the remote playback queue). See, e.g.,
                         https://support.google.com/googlenest/answer/9563059?hl=en-
                         GB&ref_topic=7030084. Examples of a Hub media player in this
                         second mode are illustrated in the following screenshots from a Hub
                         media player running at least the YouTube Music, Google Play Music,
                         and YouTube apps:




       92.    On September 28, 2020, Sonos provided Google with a draft of the original

complaint prior to its filing. That draft identified the ’033 Patent and described how Google’s


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products infringed. Thus, Google had actual knowledge of Sonos’s allegation that Google

infringed claims of the ’033 Patent prior to Sonos filing this action.

       93.     Additionally and/or alternatively, Google has indirectly infringed and continues to

indirectly infringe one or more of the claims of the ’033 Patent, in violation of 35 U.S.C. § 271(b),

by actively inducing users of the Google Wireless Audio System to directly infringe the one or

more claims of the ’033 Patent. In particular, (a) Google had actual knowledge of the ’033 Patent

and Sonos’s infringement contentions, or was willfully blind to their existence, no later than

September 28, 2020 when Sonos provided Google with a copy of the complaint (see ¶¶ 19-29
above), (b) Google intentionally causes, urges, or encourages users of the Google Wireless Audio

System to directly infringe one or more claims of the ’033 Patent by promoting, advertising, and

instructing customers and potential customers about the Google Wireless Audio System

(including uses thereof) and encouraging such customers and potential customers to engage in

activity that constitutes direct infringement (see Exs. 22-27; see also citations above in the

exemplary infringement claim chart for claim 1 of the ’033 Patent), (c) Google knows (or should

know) that its actions will induce users of the Google Wireless Audio System to directly infringe

one or more claims the ’033 Patent, and (d) users of the Google Wireless Audio System directly

infringe one or more claims of the ’033 Patent. For instance, at a minimum, Google has supplied

and continues to supply the YouTube Music, Google Play Music, and YouTube apps to customers

while knowing that installation and/or use of one or more of these apps will infringe one or more

claims of the ’033 Patent, and that Google’s customers then directly infringe one or more claims

of the ’033 Patent by installing and/or using one or more of these apps in accordance with

Google’s product literature. See, e.g., id.

       94.     Additionally and/or alternatively, Google has indirectly infringed and continues to

indirectly infringe one or more of the claims of the ’033 Patent, in violation of 35 U.S.C. § 271(c),

by offering to sell or selling within the United States, and/or importing into the United States,

components in connection with the Google Wireless Audio System that contribute to the direct

infringement of the ’033 Patent by users of the Google Wireless Audio System. In particular,


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(a) Google had actual knowledge of the ’033 Patent and Sonos’s infringement contentions, or was

willfully blind to their existence, no later than September 28, 2020 when Sonos provided Google

with a copy of the complaint (see ¶¶ 19-29 above), (b) Google offers for sale, sells, and/or imports,

in connection with the Google Wireless Audio System, one or more material components of the

invention of the ’033 Patent that are not staple articles of commerce suitable for substantial

noninfringing use, (c) Google knows (or should know) that such component(s) were especially

made or especially adapted for use in an infringement of the ’033 Patent, and (d) users of devices

that comprise such material component(s) directly infringe one or more claims of the ’033 Patent.
For instance, at a minimum, Google offers for sale, sells, and/or imports the YouTube Music,

Google Play Music, and YouTube apps for installation on devices (e.g., smartphones, tablets, and

computers) that meet one or more claims of the ’033 Patent. See, e.g., Exs. 22-27. These apps

are a material component of the devices that meet the one or more claims of the ’033 Patent.

Further, Google especially made and/or adapted these apps for installation and use on devices that

meet the one or more claims of the ’033 Patent, and these apps are not a staple article of commerce

suitable for substantial noninfringing use. Google’s customers then directly infringe the one or

more claims of the ’033 Patent by installing and/or using these apps on the customers’ devices.

       95.     Google’s infringement of the ’033 Patent is also willful because Google (a) had

actual knowledge of the ’033 Patent and Sonos’s infringement contentions no later than

September 28, 2020 (see ¶¶ 19-29 above), (b) engaged in the aforementioned activity despite an

objectively high likelihood that Google’s actions constituted infringement of the ’033 Patent, and

(c) this objectively-defined risk was either known or so obvious that it should have been known

to Google.

       96.     Additional allegations regarding Google’s pre-suit knowledge of the ’033 Patent

and willful infringement will likely have evidentiary support after a reasonable opportunity for

discovery.




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        97.     Sonos is entitled to recover from Google all damages that Sonos has sustained as

a result of Google’s infringement of the ’033 Patent, including, without limitation, a reasonable

royalty and lost profits.

        98.     Google’s infringement of the ’033 Patent was and continues to be willful and

deliberate, entitling Sonos to enhanced damages.

        99.     Google’s infringement of the ’033 Patent is exceptional and entitles Sonos to

attorneys’ fees and costs incurred in prosecuting this action under 35 U.S.C. § 285.

        100.    Google’s infringement of the ’033 Patent has caused irreparable harm (including
the loss of market share) to Sonos and will continue to do so unless enjoined by this Court.

               COUNT III: INFRINGEMENT OF U.S. PATENT NO. 9,344,206

        101.    Sonos incorporates by reference and re-alleges paragraphs 1-83 of this Amended

Complaint as if fully set forth herein.

        102.    Google and/or users of the Google Wireless Audio System have directly infringed

(either literally or under the doctrine of equivalents) and continue to directly infringe one or more

of the claims of the ’206 Patent, in violation of 35 U.S.C. § 271(a), by making, using, offering for

sale, and/or selling the Google Wireless Audio System within the United States and/or importing

the Google Wireless Audio System into the United States without authority or license.

        103.    As just one non-limiting example, set forth below is an exemplary infringement

claim chart for claim 1 of the ’206 Patent in connection with the Google Wireless Audio System.

This claim chart is based on publicly available information. Sonos reserves the right to modify

this claim chart, including, for example, on the basis of information about the Google Wireless

Audio System that it obtains during discovery.

       Claim: 1                          Chromecast-Enabled Computing Devices
 A multimedia               At least each smartphone, tablet, and computer installed with at least
 controller including a     the Google Home app (where a computing device installed with at
 processor, the             least the Google Home app is referred to herein as a “Chromecast-
 controller configured      enabled computing device”) comprises a “multimedia controller
 to:                        including a processor,” as recited in claim 1. At least each Home
                            Mini, Nest Mini, Home, Home Max, Home Hub, Nest Hub, Nest Hub


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      Claim: 1                         Chromecast-Enabled Computing Devices
                        Max, Nest Wifi Point, Chromecast, Chromecast Audio, Chromecast
                        Ultra, Chromecast with Google TV, and Nest Audio (“Chromecast-
                        enabled media player”) is a data network device configured to
                        process and output audio that is capable of playing multimedia
                        separately from other Chromecast-enabled media players, and thus,
                        comprises an “independent playback device” as recited in claim 1.
                        See, e.g., https://store.google.com/us/magazine/compare_pixel;
                        https://store.google.com/us/product/google_pixelbook_specs;
                        https://store.google.com/us/product/pixel_slate_specs;
                        https://store.google.com/us/product/google_home_max?hl=en-US;
                        https://store.google.com/us/product/google_home_max_partners?hl=
                        en-US;
                        https://play.google.com/store/apps/details?id=com.google.android.ap
                        ps.chromecast.app&hl=en_US.

                        In addition to being a “independent playback device” as recited in
                        claim 1, each Home Hub, Nest Hub, and Nest Hub Max (referred to
                        herein as a “Hub media player”) is installed with Home/Nest Hub
                        controller software such that the given Hub media player also
                        comprises a “multimedia controller including a processor,” as recited
                        in claim 1. See, e.g.,
                        https://store.google.com/us/product/google_nest_hub?hl=en-
                        US#overview-modal-music;
                        https://store.google.com/us/product/google_nest_hub_max?hl=en-
                        US; https://support.google.com/googlenest/answer/9165738?hl=en-
                        GB&ref_topic=7030084
receive, via a          Each Chromecast-enabled computing device is configured to receive,
network interface, a    via a network interface, a zone configuration from a first Chromecast-
zone configuration      enabled media player of a plurality of Chromecast-enabled media
from a first            players, where the zone configuration is configured via the
independent playback Chromecast-enabled computing device, maintained at the first
device of a plurality   Chromecast-enabled media player, and characterizes one or more
of independent          zone scenes that each identify a group configuration associated with
playback devices,       two or more of the plurality of Chromecast-enabled media players.
wherein the zone
configuration is        For instance, each Chromecast-enabled computing device on a local
configured via the      area network (“LAN”) is configured to facilitate creation of
controller and          predefined “speaker group” comprising two or more Chromecast-
maintained at the first enabled media players on the same LAN as the Chromecast-enabled
independent playback computing device, which is “a zone scene identifying a particular
device, and wherein     group configuration.” See, e.g.,
the zone                https://support.google.com/googlenest/answer/7174267?co=GENIE.P
configuration           latform%3DAndroid&hl=en (providing instructions on how to create
characterizes one or    “speaker groups”). One example of this functionality is illustrated by
more zone scenes,       the following screenshots, which shows the creation of a predefined


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       Claim: 1                   Chromecast-Enabled Computing Devices
each zone scene      “Downstairs” “speaker group” that identifies a particular group
identifying a group  configuration comprising the “Nest Mini” and “Home Mini” players:
configuration
associated with two
or more of the
plurality of
independent playback
devices; and




                      Once the predefined “speaker group” identifying the particular group
                      configuration has been created, a zone configuration characterizing
                      this “speaker group” is maintained at one or more of the plurality
                      Chromecast-enabled media players on the same LAN as the
                      Chromecast-enabled computing device (e.g., one or more of the
                      Chromecast-enabled media players included in the predefined
                      “speaker group”). See, e.g., id.

                      Thereafter, each Chromecast-enabled computing device and each
                      Hub media player on the same LAN as the plurality of Chromecast-
                      enabled media players is operable to receive the zone configuration
                      characterizing the predefined “speaker group” from one or more of
                      the plurality of Chromecast-enabled media players at various times –
                      including in advance of a Chromecast-enabled computing device or
                      Hub media player displaying the predefined “speaker group” as an
                      available option for playback. See, e.g.,
                      https://support.google.com/googlenest/answer/7174267?co=GENIE.P
                      latform%3DAndroid&hl=en;


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Claim: 1                    Chromecast-Enabled Computing Devices
              https://support.google.com/chromecast/answer/6178107?co=GENIE.
              Platform%3DAndroid&hl=en;
              https://support.google.com/googlenest/answer/7030379?co=GENIE.P
              latform%3DAndroid&hl=en-GB;
              https://support.google.com/googlenest/answer/7181830?hl=en-
              GB&ref_topic=7030084;
              https://support.google.com/chromecast/answer/3228332?hl=en-
              GB&ref_topic=4602553&co=GENIE.Platform%3DDesktop&oco=1.
              Examples of this functionality are illustrated by the following
              screenshots from a Chromecast-enabled computing device installed
              with at least the Google Home, Google Play Music and YouTube
              Music apps, which show a Chromecast-enabled computing device
              that has received a zone configuration characterizing a “Downstairs”
              “speaker group” and a “Upstairs” “speaker group”:




              Notably, each Chromecast-enabled computing device and each Hub
              media player is programmed with the capability to display a


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      Claim: 1                          Chromecast-Enabled Computing Devices
                         predefined “speaker group” as an available option for playback
                         regardless of whether the Chromecast-enabled computing device or
                         Hub media player was used to create the predefined “speaker group”
                         (and in fact, regardless of whether the Chromecast-enabled
                         computing device or Hub media player was even powered up or on
                         the same LAN as the plurality of Chromecast-enabled media players
                         at the time that the “speaker group” was created), which demonstrates
                         that each Chromecast-enabled computing device and each Hub media
                         player receives a zone configuration characterizing a predefined
                         “speaker group” from one or more of the Chromecast-enabled media
                         players selected for inclusion in the “speaker group.” See e.g.,
                         https://support.google.com/googlenest/answer/7174267?co=GENIE.P
                         latform%3DAndroid&hl=en.

                         In this regard, to facilitate the above functionality, each Chromecast-
                         enabled computing device and each Hub media player is programmed
                         with the capability to receive, from one of the plurality of
                         Chromecast-enabled media players, a zone configuration
                         characterizing one or more zone scenes that each identify a respective
                         group configuration comprising two or more of the plurality of
                         Chromecast-enabled media players.
cause a selectable       Each Chromecast-enabled computing device is configured to cause a
indication of the        selectable indication of the received zone configuration to be
received zone            displayed, where the displayed selectable indication is selectable to
configuration to be      cause one or more of the zone scenes to be invoked by two or more of
displayed, wherein       the plurality of Chromecast-enabled media players.
the displayed
selectable indication    For instance, as noted above, each Chromecast-enabled computing
is selectable to cause   device is programmed with the capability to (i) receive a zone
one or more of the       configuration characterizing one or more zone scenes that each
zone scenes to be        identify a respective group configuration comprising two or more of
invoked by two or        the plurality of Chromecast-enabled media players (e.g., one or more
more of the plurality    “speaker groups”), and (ii) cause an indication of the received zone
of independent           configuration to be displayed that is selectable to cause a particular
playback devices.        zone scene (e.g., a “speaker group”) to be invoked by two or more of
                         the plurality of Chromecast-enabled media players. See, e.g.,
                         https://support.google.com/googlenest/answer/7174267?co=GENIE.P
                         latform%3DAndroid&hl=en;
                         https://support.google.com/chromecast/answer/6178107?co=GENIE.
                         Platform%3DAndroid&hl=en;
                         https://support.google.com/googlenest/answer/7030379?co=GENIE.P
                         latform%3DAndroid&hl=en-GB;
                         https://support.google.com/googlenest/answer/7181830?hl=en-
                         GB&ref_topic=7030084;
                         https://support.google.com/chromecast/answer/3228332?hl=en-


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       Claim: 1                        Chromecast-Enabled Computing Devices
                          GB&ref_topic=4602553&co=GENIE.Platform%3DDesktop&oco=1.
                          Examples of this functionality are illustrated by the following
                          screenshots from a Chromecast-enabled computing device running at
                          least the Google Home, Google Play Music and YouTube Music
                          apps, which show an indication of a received zone configuration
                          characterizing a “Downstairs” “speaker group” that is selectable to
                          cause the “Downstairs” “speaker group” to be invoked by the
                          Chromecast-enabled media players included in the “Downstairs”
                          “speaker group”:




       104.    On September 28, 2020, Sonos provided Google with a draft of the original

complaint prior to its filing. That draft identified the ’206 Patent and described how Google’s

products infringed. Thus, Google had actual knowledge of Sonos’s allegation that Google

infringed claims of the ’206 Patent prior to Sonos filing this action.




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       105.    Additionally and/or alternatively, Google has indirectly infringed and continues to

indirectly infringe one or more of the claims of the ’206 Patent, in violation of 35 U.S.C. § 271(b),

by actively inducing users of the Google Wireless Audio System to directly infringe the one or

more claims of the ’206 Patent. In particular, (a) Google had actual knowledge of the ’206 Patent

or was willfully blind to its existence prior to, and no later than, October 2016 and had actual

knowledge or was willfully blind to Sonos’s infringement allegations at least as early as

September 28, 2020 when Sonos provided Google a copy of the complaint(see ¶¶ 19-29 above),

(b) Google intentionally causes, urges, or encourages users of the Google Wireless Audio System
to directly infringe one or more claims of the ’206 Patent by promoting, advertising, and

instructing customers and potential customers about the Google Wireless Audio System

(including uses thereof) and encouraging such customers and potential customers to engage in

activity that constitutes direct infringement (see Exs. 22-23; see also citations above in the

exemplary infringement claim chart for claim 1 of the ’206 Patent), (c) Google knows (or should

know) that its actions will induce users of the Google Wireless Audio System to directly infringe

one or more claims the ’206 Patent, and (d) users of the Google Wireless Audio System directly

infringe one or more claims of the ’206 Patent. For instance, at a minimum, Google has supplied

and continues to supply the Google Home app to customers while knowing that installation and/or

use of this app will infringe one or more claims of the ’206 Patent, and that Google’s customers

then directly infringe one or more claims of the ’206 Patent by installing and/or using this app in

accordance with Google’s product literature. See, e.g., id.

       106.    Additionally and/or alternatively, Google has indirectly infringed and continues to

indirectly infringe one or more of the claims of the ’206 Patent, in violation of 35 U.S.C. § 271(c),

by offering to sell or selling within the United States, and/or importing into the United States,

components in connection with the Google Wireless Audio System that contribute to the direct

infringement of the ’206 Patent by users of the Google Wireless Audio System. In particular, (a)

Google had actual knowledge of the ’206 Patent or was willfully blind to its existence prior to,

and no later than, October 2016 and had actual knowledge or was willfully blind to Sonos’s


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infringement allegations at least as early as September 28, 2020 when Sonos provided Google a

copy of the complaint (see ¶¶ 19-29 above), (b) Google offers for sale, sells, and/or imports, in

connection with the Google Wireless Audio System, one or more material components of the

invention of the ’206 Patent that are not staple articles of commerce suitable for substantial

noninfringing use, (c) Google knows (or should know) that such component(s) were especially

made or especially adapted for use in an infringement of the ’206 Patent, and (d) users of devices

that comprise such material component(s) directly infringe one or more claims of the ’206 Patent.

For instance, at a minimum, Google offers for sale, sells, and/or imports the Google Home app
for installation on devices (e.g., smartphones, tablets, and computers) that meet one or more

claims of the ’206 Patent. See, e.g., Exs. 22-23. This app is a material component of the devices

that meet the one or more claims of the ’206 Patent. Further, Google especially made and/or

adapted this app for installation and use on devices that meet the one or more claims of the ’206

Patent, and this app is not a staple article of commerce suitable for substantial noninfringing use.

Google’s customers then directly infringe the one or more claims of the ’206 Patent by installing

and/or using the Google Home app on the customers’ devices.

       107.    Google’s infringement of the ’206 Patent is also willful because Google (a) had

actual knowledge of the ’206 Patent no later than October 2016 and actual knowledge of Sonos’s

infringement contentions no later than September 28, 2020 (see ¶¶ 19-29 above), (b) engaged in

the aforementioned activity despite an objectively high likelihood that Google’s actions

constituted infringement of the ’206 Patent, and (c) this objectively-defined risk was either known

or so obvious that it should have been known to Google.

       108.    Additional allegations regarding Google’s pre-suit knowledge of the ’206 Patent

and willful infringement will likely have evidentiary support after a reasonable opportunity for

discovery.

       109.    Sonos is in compliance with any applicable marking and/or notice provisions of

35 U.S.C. § 287 with respect to the ’206 Patent.




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        110.    Sonos is entitled to recover from Google all damages that Sonos has sustained as

a result of Google’s infringement of the ’206 Patent, including, without limitation, a reasonable

royalty and lost profits.

        111.    Google’s infringement of the ’206 Patent was and continues to be willful and

deliberate, entitling Sonos to enhanced damages.

        112.    Google’s infringement of the ’206 Patent is exceptional and entitles Sonos to

attorneys’ fees and costs incurred in prosecuting this action under 35 U.S.C. § 285.

        113.    Google’s infringement of the ’206 Patent has caused irreparable harm (including
the loss of market share) to Sonos and will continue to do so unless enjoined by this Court.

               COUNT IV: INFRINGEMENT OF U.S. PATENT NO. 10,469,966

        114.    Sonos incorporates by reference and re-alleges paragraphs 1-83 of this Amended

Complaint as if fully set forth herein.

        115.    Google and/or users of the Google Wireless Audio System have directly infringed

(either literally or under the doctrine of equivalents) and continue to directly infringe one or more

of the claims of the ’966 Patent, in violation of 35 U.S.C. § 271(a), by making, using, offering for

sale, and/or selling the Google Wireless Audio System within the United States and/or importing

the Google Wireless Audio System into the United States without authority or license.

        116.    As just one non-limiting example, set forth below is an exemplary infringement

claim chart for claim 1 of the ’966 Patent in connection with the Google Wireless Audio System.

This claim chart is based on publicly available information. Sonos reserves the right to modify

this claim chart, including, for example, on the basis of information about the Google Wireless

Audio System that it obtains during discovery.

      Claim: 1                            Chromecast-Enabled Computing Devices
 A computing device         At least each smartphone, tablet, and computer installed with at least
 comprising:                the Google Home app (where a computing device installed with at
                            least the Google Home app is referred to herein as a “Chromecast-
                            enabled computing device”) comprises a “computing device,” as
                            recited in claim 1. At least each Home Mini, Nest Mini, Home,
                            Home Max, Home Hub, Nest Hub, Nest Hub Max, Nest Wifi Point,


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      Claim: 1                        Chromecast-Enabled Computing Devices
                        Chromecast, Chromecast Audio, Chromecast Ultra, Chromecast with
                        Google TV, and Nest Audio (“Chromecast-enabled media player”) is
                        a data network device configured to process and output audio, and
                        thus, comprises a “zone player” as recited in claim 1. See, e.g.,
                        https://store.google.com/us/magazine/compare_pixel;
                        https://store.google.com/us/product/google_pixelbook_specs;
                        https://store.google.com/us/product/pixel_slate_specs;
                        https://store.google.com/us/product/google_home_max?hl=en-US;
                        https://store.google.com/us/product/google_home_max_partners?hl=
                        en-US;
                        https://play.google.com/store/apps/details?id=com.google.android.ap
                        ps.chromecast.app&hl=en_US.
one or more             Each Chromecast-enabled computing device includes one or more
processors;             processors. See, e.g.,
                        https://store.google.com/us/magazine/compare_pixel;
                        https://store.google.com/us/product/google_pixelbook_specs;
                        https://store.google.com/us/product/pixel_slate_specs.

a non-transitory        Each Chromecast-enabled computing device includes a non-transitory
computer-readable       computer-readable medium. See, e.g.,
medium; and             https://store.google.com/us/magazine/compare_pixel;
                        https://store.google.com/us/product/google_pixelbook_specs;
                        https://store.google.com/us/product/pixel_slate_specs.
program instructions    Each Chromecast-enabled computing device includes program
stored on the non-      instructions stored on the non-transitory computer-readable medium
transitory computer-    that enable the Chromecast-enabled computing device to perform the
readable medium         functions identified below. See, e.g.,
that, when executed     https://store.google.com/us/magazine/compare_pixel;
by the one or more      https://store.google.com/us/product/google_pixelbook_specs;
processors, cause the   https://store.google.com/us/product/pixel_slate_specs.
computing device to
perform functions
comprising:
while serving as a      Each Chromecast-enabled computing device comprises program
controller for a        instructions that, when executed by a Chromecast-enabled computing
networked media         device’s one or more processors, cause that Chromecast-enabled
playback system         computing device to, while serving as a Chromecast-enabled
comprising a first      computing device for a Chromecast-enabled playback system
zone player and at      comprising a first Chromecast-enabled media player and at least two
least two other zone    other Chromecast-enabled media players, where the first Chromecast-
players, wherein the    enabled media player is operating in a standalone mode in which the
first zone player is    first Chromecast-enabled media player is configured to play back
operating in a          media individually, perform the functions identified below.
standalone mode in
which the first zone


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       Claim: 1                        Chromecast-Enabled Computing Devices
player is configured     For instance, each Chromecast-enabled computing device is
to play back media       programmed with the capability to serve as a controller for a
individually:            Chromecast-enabled playback system that includes a first
                         Chromecast-enabled media player and at least two other Chromecast-
                         enabled media players, where at least the first Chromecast-enabled
                         media player is operating in a standalone mode (i.e., the first
                         Chromecast-enabled media player is not operating part of an
                         established “cast session” with a “speaker group”). See, e.g.,
                         https://support.google.com/googlenest/answer/7174267?co=GENIE.P
                         latform%3DAndroid&hl=en;
                         https://support.google.com/chromecast/answer/6178107?co=GENIE.
                         Platform%3DAndroid&hl=en;
                         https://support.google.com/googlenest/answer/7030379?co=GENIE.P
                         latform%3DAndroid&hl=en-GB;
                         https://support.google.com/googlenest/answer/7181830?hl=en-
                         GB&ref_topic=7030084;
                         https://support.google.com/chromecast/answer/3228332?hl=en-
                         GB&ref_topic=4602553&co=GENIE.Platform%3DDesktop&oco=1.
receiving a first        Each Chromecast-enabled computing device comprises program
request to create a      instructions that, when executed by a Chromecast-enabled computing
first zone scene         device’s one or more processors, cause that Chromecast-enabled
comprising a first       computing device to receive a first request to create a first zone scene
predefined grouping      comprising a first predefined grouping of Chromecast-enabled media
of zone players          players including at least the first Chromecast-enabled media player
including at least the   and a second Chromecast-enabled media player that are to be
first zone player and    configured for synchronous playback of media when the first zone
a second zone player     scene is invoked.
that are to be
configured for           For instance, each Chromecast-enabled computing device is
synchronous              programmed such that, while serving as a controller for a
playback of media        Chromecast-enabled playback system that includes a first
when the first zone      Chromecast-enabled media player and at least two other Chromecast-
scene is invoked;        enabled media players, the Chromecast-enabled computing device is
                         operable to receive a request to create a first predefined “speaker
                         group” that includes the first Chromecast-enabled media player and a
                         second Chromecast-enabled media player in the Chromecast-enabled
                         playback system that are to be configured for synchronous playback
                         of media when the first “speaker group” is launched, which is a “a
                         first zone scene comprising a first predefined grouping of zone
                         players including at least the first zone player and a second zone
                         player that are to be configured for synchronous playback of media
                         when the first zone scene is invoked.” See, e.g.,
                         https://support.google.com/googlenest/answer/7174267?co=GENIE.P
                         latform%3DAndroid&hl=en (providing instructions on how to create
                         “speaker groups” for “synchronous music throughout the home”).


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      Claim: 1                         Chromecast-Enabled Computing Devices
                          One example of this functionality is illustrated by the following
                          screenshots, which shows the creation of an “Upstairs” “speaker
                          group” that includes the “Nest Mini” and “Hub Speaker” players:




based on the first        Each Chromecast-enabled computing device comprises program
request, i) causing       instructions that, when executed by a Chromecast-enabled computing
creation of the first     device’s one or more processors, cause that Chromecast-enabled
zone scene, ii)           computing device to, based on the first request, (i) cause creation of
causing an indication     the first zone scene, (ii) cause an indication of the first zone scene to
of the first zone scene   be transmitted to the first Chromecast-enabled media player, and (iii)
to be transmitted to      cause storage of the first zone scene.
the first zone player,
and iii) causing          For instance, each Chromecast-enabled computing device is
storage of the first      programmed such that, while serving as a controller for a
zone scene;               Chromecast-enabled playback system that includes a first
                          Chromecast-enabled media player and at least two other Chromecast-
                          enabled media players, the Chromecast-enabled computing device is
                          operable to receive a request to create a first predefined “speaker


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      Claim: 1                          Chromecast-Enabled Computing Devices
                         group” including the first Chromecast-enabled media player and a
                         second Chromecast-enabled media player in the Chromecast-enabled
                         playback system (which is the claimed “first zone scene”) and then
                         based on the request, (i) cause creation of the first “speaker group,”
                         (ii) cause an indication of the first “speaker group” to be transmitted
                         to the first Chromecast-enabled media player, and (iii) cause storage
                         of the first “speaker group” at one or more Chromecast-enabled
                         media players. See e.g.,
                         https://support.google.com/googlenest/answer/7174267?co=GENIE.P
                         latform%3DAndroid&hl=en (providing instructions on how to create
                         “speaker groups”).
receiving a second       Each Chromecast-enabled computing device comprises program
request to create a      instructions that, when executed by a Chromecast-enabled computing
second zone scene        device’s one or more processors, cause that Chromecast-enabled
comprising a second      computing device to receive a second request to create a second zone
predefined grouping      scene comprising a second predefined grouping of Chromecast-
of zone players          enabled media players including at least the first Chromecast-enabled
including at least the   media player and a third Chromecast-enabled media player that are to
first zone player and    be configured for synchronous playback of media when the second
a third zone player      zone scene is invoked, where the third Chromecast-enabled media
that are to be           player is different than the second Chromecast-enabled media player.
configured for
synchronous              For instance, each Chromecast-enabled computing device is
playback of media        programmed such that, while serving as a controller for a
when the second          Chromecast-enabled playback system that includes a first
zone scene is            Chromecast-enabled media player and at least two other Chromecast-
invoked, wherein the     enabled media players, the Chromecast-enabled computing device is
third zone player is     configured to receive a request to create a first predefined “speaker
different than the       group” that includes the first Chromecast-enabled media player and a
second zone player;      third Chromecast-enabled media player that are to be configured for
                         synchronous playback of media when the second “speaker group” is
                         launched, which is a “a second zone scene comprising a second
                         predefined grouping of zone players including at least the first zone
                         player and a third zone player that are to be configured for
                         synchronous playback of media when the second zone scene is
                         invoked.” See, e.g.,
                         https://support.google.com/googlenest/answer/7174267?co=GENIE.P
                         latform%3DAndroid&hl=en (providing instructions on how to create
                         “speaker groups” for “synchronous music throughout the home”).
                         One example of this functionality is illustrated by the following
                         screenshots, which shows the creation of a “Party” “speaker group”
                         that includes the “Nest Mini” and “Home Mini” players:




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      Claim: 1                        Chromecast-Enabled Computing Devices




based on the second       Each Chromecast-enabled computing device comprises program
request, i) causing       instructions that, when executed by a Chromecast-enabled computing
creation of the           device’s one or more processors, cause that Chromecast-enabled
second zone scene, ii)    computing device to, based on the second request, (i) cause creation
causing an indication     of the second zone scene, (ii) cause an indication of the second zone
of the second zone        scene to be transmitted to the first Chromecast-enabled media player,
scene to be               and (iii) cause storage of the second zone scene.
transmitted to the
first zone player, and    For instance, each Chromecast-enabled computing device is
iii) causing storage of   programmed such that, while serving as a controller for a
the second zone           Chromecast-enabled playback system that includes a first
scene;                    Chromecast-enabled media player and at least two other Chromecast-
                          enabled media players, the Chromecast-enabled computing device is
                          operable to receive a request to create a second predefined “speaker
                          group” including the first Chromecast-enabled media player and a
                          third Chromecast-enabled media player in the Chromecast-enabled


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      Claim: 1                         Chromecast-Enabled Computing Devices
                         playback system (which is the claimed “second zone scene”) and then
                         based on the request, (i) cause creation of the second “speaker
                         group,” (ii) cause an indication of the second “speaker group” to be
                         transmitted to the first Chromecast-enabled media player, and (iii)
                         cause storage of the second “speaker group” at one or more
                         Chromecast-enabled media players. See e.g.,
                         https://support.google.com/googlenest/answer/7174267?co=GENIE.P
                         latform%3DAndroid&hl=en (providing instructions on how to create
                         “speaker groups”).
displaying a             Each Chromecast-enabled computing device comprises program
representation of the    instructions that, when executed by a Chromecast-enabled computing
first zone scene and a   device’s one or more processors, cause that Chromecast-enabled
representation of the    computing device to display a representation of the first zone scene
second zone scene;       and a representation of the second zone scene.
and
                         For instance, each Chromecast-enabled computing device is
                         programmed such that, while serving as a controller for a
                         Chromecast-enabled playback system that includes a first
                         Chromecast-enabled media player and at least two other Chromecast-
                         enabled media players that are each, the Chromecast-enabled
                         computing device is operable to display (i) a representation of a first
                         predefined “speaker group” including the first Chromecast-enabled
                         media player and a second Chromecast-enabled media player (which
                         is the claimed “first zone scene”), and (ii) a representation of a
                         second predefined “speaker group” including the first Chromecast-
                         enabled media player and a third Chromecast-enabled media player
                         (which is the claimed second zone scene”). See, e.g.,
                         https://support.google.com/googlenest/answer/7174267?co=GENIE.P
                         latform%3DAndroid&hl=en;
                         https://support.google.com/chromecast/answer/6178107?co=GENIE.
                         Platform%3DAndroid&hl=en;
                         https://support.google.com/googlenest/answer/7030379?co=GENIE.P
                         latform%3DAndroid&hl=en-GB;
                         https://support.google.com/googlenest/answer/7181830?hl=en-
                         GB&ref_topic=7030084;
                         https://support.google.com/chromecast/answer/3228332?hl=en-
                         GB&ref_topic=4602553&co=GENIE.Platform%3DDesktop&oco=1.
                         Examples of this functionality are illustrated by the following
                         screenshots from a Chromecast-enabled computing device installed
                         with at least the Google Home, Google Play Music, and YouTube
                         Music apps, which show a displayed representation of the “Upstairs”
                         “speaker group” that includes the “Nest Mini” and “Hub Speaker”
                         players, and a displayed representation of the “Party” “speaker
                         group” that includes the “Nest Mini” and “Home Mini” players:




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      Claim: 1                       Chromecast-Enabled Computing Devices




while displaying the    Each Chromecast-enabled computing device comprises program
representation of the   instructions that, when executed by a Chromecast-enabled computing
first zone scene and    device’s one or more processors, cause that Chromecast-enabled
the representation of   computing device to, while displaying the representation of the first
the second zone         zone scene and the representation of the second zone scene, receive a
scene, receiving a      third request to invoke the first zone scene.
third request to
invoke the first zone   For instance, each Chromecast-enabled computing device is
scene; and              programmed such that, while displaying (i) a representation of a first
                        predefined “speaker group” including the first Chromecast-enabled
                        media player and a second Chromecast-enabled media player (which
                        is the claimed “first zone scene”), and (ii) a representation of a
                        second predefined “speaker group” including the first Chromecast-
                        enabled media player and a third Chromecast-enabled media player
                        (which is the claimed second zone scene”), the Chromecast-enabled
                        computing device is operable to receive a request to launch the first


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Claim: 1                    Chromecast-Enabled Computing Devices
              “speaker group,” which is a “request to invoke the first zone scene.”
              See, e.g.,
              https://support.google.com/googlenest/answer/7174267?co=GENIE.P
              latform%3DAndroid&hl=en;
              https://support.google.com/chromecast/answer/6178107?co=GENIE.
              Platform%3DAndroid&hl=en;
              https://support.google.com/googlenest/answer/7030379?co=GENIE.P
              latform%3DAndroid&hl=en-GB;
              https://support.google.com/googlenest/answer/7181830?hl=en-
              GB&ref_topic=7030084;
              https://support.google.com/chromecast/answer/3228332?hl=en-
              GB&ref_topic=4602553&co=GENIE.Platform%3DDesktop&oco=1.
              Examples of this functionality are illustrated by the following
              screenshots from a Chromecast-enabled computing device installed
              with at least the Google Home, Google Play Music, and YouTube
              Music apps, which show receipt of a request to launch the “Upstairs”
              “speaker pair”:




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      Claim: 1                        Chromecast-Enabled Computing Devices




based on the third       Each Chromecast-enabled computing device comprises program
request, causing the     instructions that, when executed by a Chromecast-enabled computing
first zone player to     device’s one or more processors, cause that Chromecast-enabled
transition from          computing device to, based on the third request, cause the first
operating in the         Chromecast-enabled media player to transition from operating in the
standalone mode to       standalone mode to operating in accordance with the first predefined
operating in             grouping of Chromecast-enabled media players such that the first
accordance with the      Chromecast-enabled media player is configured to coordinate with at
first predefined         least the second Chromecast-enabled media player to output media in
grouping of zone         synchrony with output of media by at least the second Chromecast-
players such that the    enabled media player.
first zone player is
configured to            For instance, each Chromecast-enabled computing device is
coordinate with at       programmed such that, based on a request to launch a first “speaker
least the second zone    group” (which is the claimed “third request to invoke the first zone
player to output         scene”), the Chromecast-enabled computing device is operable to
media in synchrony       cause the first Chromecast-enabled media player to transition from
with output of media     operating in a standalone mode to operating in accordance with the
by at least the second   first “speaker group” such that the first Chromecast-enabled media
zone player.             player is configured to coordinate with at least the second
                         Chromecast-enabled media player to output audio in synchrony with
                         the output of audio by the second Chromecast-enabled media player.
                         See, e.g.,
                         https://support.google.com/googlenest/answer/7174267?co=GENIE.P
                         latform%3DAndroid&hl=en (“Group any combination of Google
                         Nest or Google Home speakers and displays and Chromecast devices
                         together for synchronous music throughout the home.”). Examples of
                         this functionality are illustrated by the following screenshots from a
                         Chromecast-enabled computing device installed with at least the
                         Google Home, Google Play Music, and YouTube Music apps, which
                         show the “Upstairs” “speaker group” being launched such that the


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Claim: 1                  Chromecast-Enabled Computing Devices
              “Nest Mini” and “Hub Speaker” players are configured to coordinate
              with one another to play audio in synchrony:




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       Claim: 1                         Chromecast-Enabled Computing Devices




       117.    On September 28, 2020, Sonos provided Google with a draft of the original

complaint prior to its filing. That draft identified the ’966 Patent and described how Google’s

products infringed. Thus, Google had actual knowledge of Sonos’s allegation that Google

infringed claims of the ’966 Patent prior to Sonos filing this action.

       118.    Additionally and/or alternatively, Google has indirectly infringed and continues to

indirectly infringe one or more of the claims of the ’966 Patent, in violation of 35 U.S.C. § 271(b),

by actively inducing users of the Google Wireless Audio System to directly infringe the one or

more claims of the ’966 Patent. In particular, (a) Google had actual knowledge of the ’966 Patent

and Sonos’s infringement contentions, or was willfully blind to their existence, no later than




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September 28, 2020 when Sonos provided Google with a copy of the complaint (see ¶¶ 19-29

above), (b) Google intentionally causes, urges, or encourages users of the Google Wireless Audio

System to directly infringe one or more claims of the ’966 Patent by promoting, advertising, and

instructing customers and potential customers about the Google Wireless Audio System

(including uses thereof) and encouraging such customers and potential customers to engage in

activity that constitutes direct infringement (see Exs. 22-23; see also citations above in the

exemplary infringement claim chart for claim 1 of the ’966 Patent), (c) Google knows (or should

know) that its actions will induce users of the Google Wireless Audio System to directly infringe
one or more claims the ’966 Patent, and (d) users of the Google Wireless Audio System directly

infringe one or more claims of the ’966 Patent. For instance, at a minimum, Google has supplied

and continues to supply the Google Home app to customers while knowing that installation and/or

use of this app will infringe one or more claims of the ’966 Patent, and that Google’s customers

then directly infringe one or more claims of the ’966 Patent by installing and/or using this app in

accordance with Google’s product literature. See, e.g., id.

       119.    Additionally and/or alternatively, Google has indirectly infringed and continues to

indirectly infringe one or more of the claims of the ’966 Patent, in violation of 35 U.S.C. § 271(c),

by offering to sell or selling within the United States, and/or importing into the United States,

components in connection with the Google Wireless Audio System that contribute to the direct

infringement of the ’966 Patent by users of the Google Wireless Audio System. In particular,

(a) Google had actual knowledge of the ’966 Patent and Sonos’s infringement contentions, or was

willfully blind to their existence, no later than September 28, 2020 when Sonos provided Google

with a copy of the complaint (see ¶¶ 19-29 above), (b) Google offers for sale, sells, and/or imports,

in connection with the Google Wireless Audio System, one or more material components of the

invention of the ’966 Patent that are not staple articles of commerce suitable for substantial

noninfringing use, (c) Google knows (or should know) that such component(s) were especially

made or especially adapted for use in an infringement of the ’966 Patent, and (d) users of devices

that comprise such material component(s) directly infringe one or more claims of the ’966 Patent.


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For instance, at a minimum, Google offers for sale, sells, and/or imports the Google Home app

for installation on devices (e.g., smartphones, tablets, and computers) that meet one or more

claims of the ’966 Patent. See, e.g., Exs. 22-23. This app is a material component of the devices

that meet the one or more claims of the ’966 Patent. Further, Google especially made and/or

adapted this app for installation and use on devices that meet the one or more claims of the ’966

Patent, and this app is not a staple article of commerce suitable for substantial noninfringing use.

Google’s customers then directly infringe the one or more claims of the ’966 Patent by installing

and/or using the Google Home app on the customers’ devices.
        120.    Google’s infringement of the ’966 Patent is also willful because Google (a) had

actual knowledge of the ’966 Patent and actual knowledge of Sonos’s infringement contentions

no later than September 28, 2020 (see ¶¶ 19-29 above), (b) engaged in the aforementioned activity

despite an objectively high likelihood that Google’s actions constituted infringement of the ’966

Patent, and (c) this objectively-defined risk was either known or so obvious that it should have

been known to Google.

        121.    Additional allegations regarding Google’s pre-suit knowledge of the ’966 Patent

and willful infringement will likely have evidentiary support after a reasonable opportunity for

discovery.

        122.    Sonos is in compliance with any applicable marking and/or notice provisions of

35 U.S.C. § 287 with respect to the ’966 Patent.

        123.    Sonos is entitled to recover from Google all damages that Sonos has sustained as

a result of Google’s infringement of the ’966 Patent, including, without limitation, a reasonable

royalty and lost profits.

        124.    Google’s infringement of the ’966 Patent was and continues to be willful and

deliberate, entitling Sonos to enhanced damages.

        125.    Google’s infringement of the ’966 Patent is exceptional and entitles Sonos to

attorneys’ fees and costs incurred in prosecuting this action under 35 U.S.C. § 285.




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       126.    Google’s infringement of the ’966 Patent has caused irreparable harm (including

the loss of market share) to Sonos and will continue to do so unless enjoined by this Court.

              COUNT V: INFRINGEMENT OF U.S. PATENT NO. 10,848,885

       127.    Sonos incorporates by reference and re-alleges paragraphs 1-83 of this Amended

Complaint as if fully set forth herein.

       128.    Google and/or users of the Google Wireless Audio System have directly infringed

(either literally or under the doctrine of equivalents) and continue to directly infringe one or more

of the claims of the ’885 Patent, in violation of 35 U.S.C. § 271(a), by making, using, offering for
sale, and/or selling the Google Wireless Audio System within the United States and/or importing

the Google Wireless Audio System into the United States without authority or license.

       129.    As just one non-limiting example, set forth below is an exemplary infringement

claim chart for claim 1 of the ’885 Patent in connection with the Google Wireless Audio System.

This claim chart is based on publicly available information. Sonos reserves the right to modify

this claim chart, including, for example, on the basis of information about the Google Wireless

Audio System that it obtains during discovery.


        Claim: 1                           Chromecast-Enabled Media Players
 A first zone player      At least each Home Mini, Nest Mini, Home, Home Max, Home Hub,
 comprising:              Nest Hub, Nest Hub Max, Nest Wifi Point, Chromecast, Chromecast
                          Audio, Chromecast Ultra, Chromecast with Google TV, and Nest
                          Audio (referred to in this chart as a “Chromecast-enabled media
                          player” or “Cast-enabled media player”) comprises a “zone player” as
                          recited in claim 1. See, e.g.,
                          https://support.google.com/googlenest/answer/7072284?hl=en;
                          https://store.google.com/us/product/google_home_max?hl=en-US.

                          At least each smartphone, tablet, and computer installed with at least
                          the Google Home app, and perhaps also one or more other Cast-
                          enabled Android, iOS, or Chrome apps (referred to in this chart as a
                          “Chromecast-enabled computing device” or “Cast-enabled computing
                          device”), comprises a “network device,” as recited in claim 1. See,
                          e.g., https://store.google.com/us/magazine/compare_pixel;
                          https://store.google.com/us/product/google_pixelbook_specs;
                          https://store.google.com/us/product/pixel_slate_specs.



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       Claim: 1                           Chromecast-Enabled Media Players
a network interface      Each Chromecast-enabled media player comprises a network
that is configured to    interface, such as a Wi-Fi interface, that is configured to
communicatively          communicatively couple the Chromecast-enabled media player to at
couple the first zone    least one data network, such as a Wi-Fi network. See, e.g.,
player to at least one   https://support.google.com/googlenest/answer/7072284?hl=en;
data network;            https://store.google.com/us/product/google_home_max?hl=en-US.
one or more              Each Chromecast-enabled media player comprises one or more
processors;              processors. See, e.g.,
                         https://support.google.com/googlenest/answer/7072284?hl=en;
                         https://store.google.com/us/product/google_home_max?hl=en-US.
a non-transitory         Each Chromecast-enabled media player comprises a non-transitory
computer-readable        computer-readable medium. See, e.g.,
medium; and              https://support.google.com/googlenest/answer/7072284?hl=en;
                         https://store.google.com/us/product/google_home_max?hl=en-US.
program instructions     Each Chromecast-enabled media player comprises program
stored on the non-       instructions stored on the non-transitory computer-readable medium
transitory computer-     that, when executed by the Chromecast-enabled media player’s one
readable medium          or more processors, cause the Chromecast-enabled media player to
that, when executed      perform the functions identified below. See, e.g.,
by the one or more       https://support.google.com/googlenest/answer/7072284?hl=en;
processors, cause the    https://store.google.com/us/product/google_home_max?hl=en-US.
first zone player to
perform functions
comprising:
while operating in a     Each Chromecast-enabled media player comprises program
standalone mode in       instructions stored on the Chromecast-enabled media player’s non-
which the first zone     transitory computer-readable medium that, when executed by the
player is configured     Chromecast-enabled media player’s one or more processors, cause
to play back media       the Chromecast-enabled media player to, while operating in a
individually in a        standalone mode in which the Chromecast-enabled media player is
networked media          configured to play back media individually in a networked
playback system          Chromecast-enabled media playback system comprising the
comprising the first     Chromecast-enabled media player and at least two other Chromecast-
zone player and at       enabled media players, perform the functions identified below.
least two other zone
players:                 For instance, each Chromecast-enabled media player is programmed
                         such that, while in a networked Chromecast-enabled media playback
                         system that includes at least two other Chromecast-enabled media
                         players, the Chromecast-enabled media player has the capability to
                         operate in a standalone mode in which the Chromecast-enabled media
                         player is configured to play back audio individually (as opposed to
                         being configured to play back audio in synchrony with one or more
                         other Chromecast-enabled media players as part of a “speaker group”
                         or a “speaker pair”). See, e.g.,
                         https://support.google.com/googlenest/answer/7174267?co=GENIE.P


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      Claim: 1                             Chromecast-Enabled Media Players
                          latform%3DAndroid&hl=en;
                          https://support.google.com/googlenest/answer/7030379?co=GENIE.P
                          latform%3DAndroid&hl=en-GB;
                          https://support.google.com/googlenest/answer/7181830?hl=en-
                          GB&ref_topic=7030084;
                          https://support.google.com/chromecast/answer/3228332?hl=en-
                          GB&ref_topic=4602553&co=GENIE.Platform%3DDesktop&oco=1.
(i) receiving, from a     Each Chromecast-enabled media player comprises program
network device over       instructions stored on the Chromecast-enabled media player’s non-
a data network, a first   transitory computer-readable medium that, when executed by the
indication that the       Chromecast-enabled media player’s one or more processors, cause
first zone player has     the Chromecast-enabled media player to receive, from a Chromecast-
been added to a first     enabled computing device over a data network, a first indication that
zone scene                the Chromecast-enabled media player has been added to a first zone
comprising a first        scene comprising a first predefined grouping of Chromecast-enabled
predefined grouping       media players including at least the Chromecast-enabled media player
of zone players           and a second Chromecast-enabled media player that are to be
including at least the    configured for synchronous playback of media when the first zone
first zone player and     scene is invoked.
a second zone player
that are to be            For instance, each Chromecast-enabled media player is programmed
configured for            such that, while the Chromecast-enabled media player is in a
synchronous               networked Chromecast-enabled media playback system that includes
playback of media         at least two other Chromecast-enabled media players and is operating
when the first zone       in a standalone mode in which the Chromecast-enabled media player
scene is invoked; and     is configured to play back audio individually, the Chromecast-
                          enabled media player has the capability to receive, from a
                          Chromecast-enabled computing device over a Wi-Fi network, a first
                          indication that the Chromecast-enabled media player has been added
                          to a first predefined “speaker group” that includes the Chromecast-
                          enabled media player and a second Chromecast-enabled media player
                          in the networked Chromecast-enabled media playback system, which
                          amounts to a “first zone scene” comprising a “first predefined
                          grouping” of Chromecast-enabled media players that are “to be
                          configured for synchronous playback of media” when the first
                          predefined “speaker group” is invoked. See, e.g.,
                          https://support.google.com/googlenest/answer/7174267?co=GENIE.P
                          latform%3DAndroid&hl=en (explaining that when Chromecast-
                          enabled media players are grouped together into a “speaker group”
                          those Chromecast-enabled media players are configured for
                          “synchronous music throughout the home”).
(ii) receiving, from      Each Chromecast-enabled media player comprises program
the network device        instructions stored on the Chromecast-enabled media player’s non-
over the data             transitory computer-readable medium that, when executed by the
network, a second         Chromecast-enabled media player’s one or more processors, cause


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       Claim: 1                           Chromecast-Enabled Media Players
indication that the      the Chromecast-enabled media player to receive, from a Chromecast-
first zone player has    enabled computing device over a data network, a second indication
been added to a          that the Chromecast-enabled media player has been added to a second
second zone scene        zone scene comprising a second predefined grouping of Chromecast-
comprising a second      enabled media players including at least the Chromecast-enabled
predefined grouping      media player and a third Chromecast-enabled media player that are to
of zone players          be configured for synchronous playback of media when the first zone
including at least the   scene is invoked, where the second Chromecast-enabled media player
first zone player and    is different than the third Chromecast-enabled media player.
a third zone player
that are to be           For instance, each Chromecast-enabled media player is programmed
configured for           such that, while the Chromecast-enabled media player is in a
synchronous              networked Chromecast-enabled media playback system that includes
playback of media        at least two other Chromecast-enabled media players and is operating
when the second          in a standalone mode in which the Chromecast-enabled media player
zone scene is            is configured to play back audio individually, the Chromecast-
invoked, wherein the     enabled media player has the capability to receive, from a
second zone player is    Chromecast-enabled computing device over a Wi-Fi network, a
different than the       second indication that the Chromecast-enabled media player has been
third zone player;       added to a second predefined “speaker group” that includes the
                         Chromecast-enabled media player and a third Chromecast-enabled
                         media player in the networked Chromecast-enabled media playback
                         system, which amounts to a “second zone scene” comprising a
                         “second predefined grouping” of Chromecast-enabled media players
                         that are “to be configured for synchronous playback of media” when
                         the second predefined “speaker group” is invoked. See, e.g.,
                         https://support.google.com/googlenest/answer/7174267?co=GENIE.P
                         latform%3DAndroid&hl=en (explaining that when Chromecast-
                         enabled media players are grouped together into a “speaker group”
                         those Chromecast-enabled media players are configured for
                         “synchronous music throughout the home”).
after receiving the      Each Chromecast-enabled media player comprises program
first and second         instructions stored on the Chromecast-enabled media player’s non-
indications,             transitory computer-readable medium that, when executed by the
continuing to operate    Chromecast-enabled media player’s one or more processors, cause
in the standalone        the Chromecast-enabled media player to, after receiving the first and
mode until a given       second indications, continue to operate in the standalone mode until a
one of the first and     given one of the first and second zone scenes has been selected for
second zone scenes       invocation.
has been selected for
invocation;              For instance, each Chromecast-enabled media player is programmed
                         such that, after receiving the first and second indications while the
                         Chromecast-enabled media player is in a networked Chromecast-
                         enabled media playback system that includes at least two other
                         Chromecast-enabled media players and is operating in a standalone


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      Claim: 1                          Chromecast-Enabled Media Players
                       mode in which the Chromecast-enabled media player is configured to
                       play back audio individually, the Chromecast-enabled media player
                       continues to operate in the standalone mode until one of the first
                       predefined “speaker group” or the second predefined “speaker group”
                       has been selected for invocation. See, e.g.,
                       https://support.google.com/googlenest/answer/7174267?co=GENIE.P
                       latform%3DAndroid&hl=en;
                       https://support.google.com/googlenest/answer/7030379?co=GENIE.P
                       latform%3DAndroid&hl=en-GB;
                       https://support.google.com/googlenest/answer/7181830?hl=en-
                       GB&ref_topic=7030084;
                       https://support.google.com/chromecast/answer/3228332?hl=en-
                       GB&ref_topic=4602553&co=GENIE.Platform%3DDesktop&oco=1.
after the given one of Each Chromecast-enabled media player comprises program
the first and second   instructions stored on the Chromecast-enabled media player’s non-
zone scenes has been transitory computer-readable medium that, when executed by the
selected for           Chromecast-enabled media player’s one or more processors, cause
invocation, receiving, the Chromecast-enabled media player to, after the given one of the
from the network       first and second zone scenes has been selected for invocation, receive,
device over the data   from the Chromecast-enabled computing device over the data
network, an            network, an instruction to operate in accordance with a given one of
instruction to operate the first and second zone scenes respectively comprising a given one
in accordance with a of the first and second predefined groupings of Chromecast-enabled
given one of the first media players.
and second zone
scenes respectively    For instance, each Chromecast-enabled media player is programmed
comprising a given     such that, after one of the first and second predefined “speaker
one of the first and   groups” has been selected for invocation using a Chromecast-enabled
second predefined      computing device, the Chromecast-enabled media player has the
groupings of zone      capability to receive, from the Chromecast-enabled computing device
players; and           over the Wi-Fi network, an instruction to operate in accordance with
                       the selected “speaker group,” which amounts to “a given one of the
                       first and second zone scenes respectively comprising a given one of
                       the first and second predefined groupings” of Chromecast-enabled
                       media players. See, e.g.,
                       https://support.google.com/googlenest/answer/7174267?co=GENIE.P
                       latform%3DAndroid&hl=en;
                       https://support.google.com/googlenest/answer/7030379?co=GENIE.P
                       latform%3DAndroid&hl=en-GB;
                       https://support.google.com/googlenest/answer/7181830?hl=en-
                       GB&ref_topic=7030084;
                       https://support.google.com/chromecast/answer/3228332?hl=en-
                       GB&ref_topic=4602553&co=GENIE.Platform%3DDesktop&oco=1.
based on the           Each Chromecast-enabled media player comprises program
instruction,           instructions stored on the Chromecast-enabled media player’s non-


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       Claim: 1                           Chromecast-Enabled Media Players
transitioning from       transitory computer-readable medium that, when executed by the
operating in the         Chromecast-enabled media player’s one or more processors, cause
standalone mode to       the Chromecast-enabled media player to, based on the instruction,
operating in             transition from operating in the standalone mode to operating in
accordance with the      accordance with the given one of the first and second predefined
given one of the first   groupings of Chromecast-enabled media players such that the
and second               Chromecast-enabled media player is configured to coordinate with at
predefined groupings     least one other Chromecast-enabled media player in the given one of
of zone players such     the first and second predefined groupings of Chromecast-enabled
that the first zone      media players over a data network in order to output media in
player is configured     synchrony with output of media by the at least one other Chromecast-
to coordinate with at    enabled media player in the given one of the first and second
least one other zone     predefined groupings of Chromecast-enabled media players.
player in the given
one of the first and     For instance, each Chromecast-enabled media player is programmed
second predefined        such that, based on a received instruction to operate in accordance
groupings of zone        with a selected “speaker group,” the Chromecast-enabled media
players over a data      player transitions from operating in the standalone mode to operating
network in order to      in accordance with the selected “speaker group” (which as noted
output media in          above amounts to “a given one of the first and second zone scenes
synchrony with           respectively comprising a given one of the first and second
output of media by       predefined groupings of zone players”) such that the Chromecast-
the at least one other   enabled media player is configured to coordinate with at least one
zone player in the       other Chromecast-enabled media player in the selected “speaker
given one of the first   group” over a Wi-Fi network in order to output audio in synchrony
and second               with output of audio by the at least one other Chromecast-enabled
predefined groupings     media player in the selected “speaker group.” See, e.g.,
of zone players.         https://support.google.com/googlenest/answer/7174267?co=GENIE.P
                         latform%3DAndroid&hl=en (“Group any combination of Google
                         Nest or Google Home speakers and displays and Chromecast devices
                         together for synchronous music throughout the home.”).

                         Examples of this functionality are illustrated by the following
                         screenshots from a Chromecast-enabled computing device installed
                         with the Google Home app as well as other Cast-enabled apps such as
                         Google Play Music and YouTube Music, which show the predefined
                         “speaker group” named “Upstairs” being invoked such that the “Nest
                         Mini” and “Hub Speaker” players each transition from operating in
                         the standalone mode in which the player was configured to play back
                         audio individually to operating in accordance with the predefined
                         “speaker group” named “Upstairs” such that the “Nest Mini” and
                         “Hub Speaker” players are configured to coordinate with one another
                         to output audio in synchrony:




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Claim: 1                  Chromecast-Enabled Media Players




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       Claim: 1                           Chromecast-Enabled Media Players




       130.    On January 8, 2021, Sonos provided Google with a draft of this Amended

Complaint prior to its filing. That draft identified the ’885 Patent and described how Google’s

products infringed. Thus, Google had actual knowledge of Sonos’s allegation that Google

infringed claims of the ’885 Patent prior to Sonos filing the amended complaint in this action.

       131.    Additionally and/or alternatively, Google has indirectly infringed and continues to

indirectly infringe one or more of the claims of the ’885 Patent, in violation of 35 U.S.C. § 271(b),

by actively inducing users of the Google Wireless Audio System to directly infringe the one or

more claims of the ’885 Patent. In particular, (a) Google had actual knowledge of the ’885 Patent

and Sonos’s infringement contentions, or was willfully blind to their existence, no later than

January 8, 2021 when Sonos provided Google with a copy of the Amended Complaint, (b) Google

intentionally causes, urges, or encourages users of the Google Wireless Audio System to directly

infringe one or more claims of the ’885 Patent by promoting, advertising, and instructing

customers and potential customers about the Google Wireless Audio System (including uses

thereof) and encouraging such customers and potential customers to engage in activity that

constitutes direct infringement (see Exs. 22-23; see also citations above in the exemplary

infringement claim chart for claim 1 of the ’885 Patent), (c) Google knows (or should know) that

its actions will induce users of the Google Wireless Audio System to directly infringe one or more



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claims the ’885 Patent, and (d) users of the Google Wireless Audio System directly infringe one

or more claims of the ’885 Patent. For instance, at a minimum, Google has supplied and continues

to supply the Chromecast-enabled media players to customers while knowing that use of these

products will infringe one or more claims of the ’885 Patent and that Google’s customers then

directly infringe one or more claims of the ’885 Patent by using the Chromecast-enabled media

players in accordance with Google’s product literature. See, e.g., id.

       132.    Additionally and/or alternatively, Google has indirectly infringed and continues to

indirectly infringe one or more of the claims of the ’885 Patent, in violation of 35 U.S.C. § 271(c),
by offering to sell or selling within the United States, and/or importing into the United States,

components in connection with the Google Wireless Audio System that contribute to the direct

infringement of the ’885 Patent by users of the Google Wireless Audio System. In particular,

(a) Google had actual knowledge of the ’885 Patent and Sonos’s infringement contentions, or was

willfully blind to their existence, no later than January 8, 2021 when Sonos provided Google with

a copy of the Amended Complaint, (b) Google offers for sale, sells, and/or imports, in connection

with the Google Wireless Audio System, one or more material components of the invention of the

’885 Patent that are not staple articles of commerce suitable for substantial noninfringing use, (c)

Google knows (or should know) that such component(s) were especially made or especially

adapted for use in an infringement of the ’885 Patent, and (d) users of devices that comprise such

material component(s) directly infringe one or more claims of the ’885 Patent. For instance, at a

minimum, Google offers for sale, sells, and/or imports software updates for the Chromecast-

enabled media players that meet one or more claims of the ’885 Patent. See, e.g., Ex. 43. These

software updates are material components of the Chromecast-enabled media players that meet the

one or more claims of the ’885 Patent. Further, Google especially made and/or adapted these

software updates for installation and use on the Chromecast-enabled media players that meet the

one or more claims of the ’885 Patent, and these software updates are not staple articles of

commerce suitable for substantial noninfringing use. Google’s customers then directly infringe




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the one or more claims of the ’885 Patent by installing and using software updates on the

Chromecast-enabled media players.

        133.    Google’s infringement of the ’885 Patent is also willful because Google (a) had

actual knowledge of the ’885 Patent and actual knowledge of Sonos’s infringement contentions

no later January 8, 2021 when Sonos provided Google with a copy of the Amended Complaint,

(b) engaged in the aforementioned activity despite an objectively high likelihood that Google’s

actions constituted infringement of the ’885 Patent, and (c) this objectively-defined risk was either

known or so obvious that it should have been known to Google.
        134.    Additional allegations regarding Google’s pre-suit knowledge of the ’885 Patent

and willful infringement will likely have evidentiary support after a reasonable opportunity for

discovery.

        135.    Sonos is entitled to recover from Google all damages that Sonos has sustained as

a result of Google’s infringement of the ’885 Patent, including, without limitation, a reasonable

royalty and lost profits.

        136.    Google’s infringement of the ’885 Patent was and continues to be willful and

deliberate, entitling Sonos to enhanced damages.

        137.    Google’s infringement of the ’885 Patent is exceptional and entitles Sonos to

attorneys’ fees and costs incurred in prosecuting this action under 35 U.S.C. § 285. Google’s

infringement of the ’885 Patent has caused irreparable harm (including the loss of market share)

to Sonos and will continue to do so unless enjoined by this Court.

                                     PRAYER FOR RELIEF

        WHEREFORE, Sonos respectfully requests:

        A.      That Judgment be entered that Google has infringed at least one or more claims

                of the patents-in-suit, directly and/or indirectly, literally and/or under the doctrine

                of equivalents, and that such infringement is willful;

        B.      An injunction enjoining Google, its officers, agents, servants, employees and

                attorneys, and other persons in active concert or participation with Google, and


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               its parents, subsidiaries, divisions, successors and assigns, from further

               infringement of the patents-in-suit.

       C.      An award of damages sufficient to compensate Sonos for Google’s infringement

               under 35 U.S.C. § 284, including an enhancement of damages on account of

               Google’s willful infringement;

       D.      That the case be found exceptional under 35 U.S.C. § 285 and that Sonos be

               awarded its reasonable attorneys’ fees;

       E.      Costs and expenses in this action;
       F.      An award of prejudgment and post-judgment interest; and

       G.      Such other and further relief as the Court may deem just and proper.

                                 DEMAND FOR JURY TRIAL
       Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Sonos respectfully

demands a trial by jury on all issues triable by jury.



Dated: February 18, 2021                            Respectfully submitted,

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